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                                  Exhibit 6:
Attachment Q to I-70 East Final Environmental Impact Statement and
              Section 4(f) Evaluation, January 2016
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                                               I-70 East Final Environmental Impact Statement
                                                                                             and Section 4(f) Evaluation



                                                                                                            JANUARY 2016
                                                                             VOLUME 3 OF 3, PART 1 OF 3
                                           Attachment Q: Supplemental Draft EIS Comments and Responses
I-70EAST.COM                                            Agencies and Elected Officials, Businesses, and Special Interest Groups
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     Supplemental Draft EIS Comments and Responses
     Supplemental Draft EIS Comment Period                                                responses do not fit, they are continued on the next page.              A list of Frequently Received Comments was prepared and responded
                                                                                                                                                                  to in order to capture a majority of the topics that were commented on.
     The comment period on the Supplemental Draft EIS began on August                     The responses are structured to be comprehensive and address the        The Frequently Received Comments start on page 1 of Part 1. Again,
     29, 2014 and was scheduled to end on October 13, 2014. Because of                    content of the comments. Please refer to the main document of the       the responses address topics that were commented on by multiple
     multiple requests for additional time, the review period was extended                Final EIS (Volume 1) for the list of Acronyms and Abbreviations.        reviewers and address the majority of the comments submitted. Many
     through October 31, 2014. Formal open houses/public hearings were                    Comments that provided either support or opposition for the project     of the responses to individual comments refer the commenter to a
     held in September 2014.                                                              were reviewed by the project team and responded simply with a           specific response (or responses) for more details.

     During the comment period, nearly 900 individual submissions—                        “comment noted.”                                                        For each response to a frequently submitted comment, the response
     many containing multiple comments—were received from the public,                     The reader may be referred to other similar responses and/or the text   refers the commenter or reviewer to the topic and response number
     stakeholders, and agencies.                                                          in the Supplemental Draft EIS or Final EIS; this is done to create a    where the frequent responses can be located, an example is shown
                                                                                          more concise response and to help guide the reader to the sections      below:
     Comments received were posted on the project website,
     www.i-70east.com, shortly after the close of the comment period.                     where additional information about the content of the comment is
                                                                                          contained.                                                                                        For information on the Steele/Vasquez
                                                                                                                                                                                            interchange, please see PA6 of the
     How to find specific Responses                                                                                                                                                         Frequently Received Comments and
                                                                   Comments on the left                                          Responses on right
     to Comments                                                                                                                                                                            Responses on the Supplemental Draft EIS,
                                                                                                                                                                                            located in Part 1 of Attachment Q.
     The comments received and responses are
     presented side-by-side in this document.
     Comments are organized into the following                                                                                                                                          Comments that were received in Spanish are
     groups: Agencies and Elected Officials,                                                                                                                                            included along with responses, with translations
     Businesses, Special Interest Groups, and                                                                                                                                           (comments and responses) included on the
     Citizens. Comments within each group                                                                                                                                               following page.
     are organized alphabetically, Citizens are                                            Commenter Name or Agency,
     alphabetized by last name (see Table of                                                 Business, Special Interest Group
     Contents).                                                                                                                                                                         Sources of Comments Received
     Part 1 of Attachment Q includes:                                                                                                                                                   Comments on the Supplemental Draft EIS
     •   Frequently Received Comments and                                                                                                                                               were submitted through a variety of methods
         Response                                                                                                                                                                       including:

     •   Comments from Agencies and Elected                                                                                                                                             •   Submittal – online form through the project
         Officials                                                                                                                                                                          website, emails to contactus@i-70east.com,
                                                                                                                                                                                            written comments or letters, comment forms
     •   Comments from Businesses                                                                                                                                                           from the public hearings (submittal)
     •   Comments from Special Interest Groups                                                                                                                                          •   Public hearing transcript – testimony from
                                                                                                                                                                                            the public hearings
     Part 2 and 3 of Attachment Q includes:
                                                                                                                                                                                        •   Voice mail – recorded telephone messages
     •   Comments from Citizens

     Each topic within the comments is coded with
     a letter, and responses to each letter can be
                                                                           Comment Code                                                Response Code
     found on the right. In some cases, when the
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            private partnership (P3) delivery method?������������������������������������������������������������������� 14
     FUND3. How will the toll rates be set?����������������������������������������������������������������������������������� 14
     FUND4. Why isn’t CDOT using the toll revenue to fund this project or other needed items in the
            surrounding communities?��������������������������������������������������������������������������������������� 14
     FUND5. What is the project funding strategy?������������������������������������������������������������������������� 14
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                 Frequently Received Comments and Responses on the Supplemental Draft EIS
          A list of Frequently Received Comments was prepared and                      GEN3. Why is the highway being widened to five lanes                         restricted from participating in such activities. The project team provided
          responded to in order to capture a majority of the topics that               in each direction?                                                           some information to answer APA’s questions, but was precluded from
          were commented on. The responses address topics that were                                                                                                 responding in an in-depth manner at that time.
                                                                                       The Final EIS traffic analysis used the 2035 DRCOG regional travel
          commented on by multiple reviewers and address the majority                                                                                               CDOT asked APA to submit the report as a comment to the Supplemental
                                                                                       demand model to forecast horizon-year traffic volumes to determine the
          of the comments submitted. These topics include general,                     number of lanes that will be needed in the horizon year. This model uses     Draft EIS process, which would provide the project team an opportunity
          information, outreach efforts, alternatives analysis, impacts                planned employment and population data to determine traffic volumes, as      to respond directly to the questions and observations set forth in the
          and mitigations, Preferred Alternative, air quality and health,              discussed in Chapter 4, Transportation Impacts and Mitigation Measures       report. The APA declined, saying that it was, “… offering our insights
          property impacts, environmental justice, transportation                      of the Final EIS. This model also accounts for planned improvements to       to Denver for your consideration as you move forward with next steps
                                                                                                                                                                    in relation to the project.” The Final EIS provides new information and
          and traffic, and funding strategies. Many of the responses to                other modal networks, including transit.
                                                                                                                                                                    context relevant to the resulting report, addressing many of the questions
          individual comments refer the commenter to a specific response               Between Brighton Boulevard and I-270, both eastbound I-70 and                it raises, in areas such as travel demand modeling or managed lanes.
          (or responses) for more details.                                             westbound I-70 are projected to carry more than 10,000 vehicles per hour
                                                                                       in the peak design period. Between I-270 and I-225, both eastbound I-70
                                                                                       and westbound I-70 are projected to carry upwards of 15,000 vehicles         GEN5. Will there be a requirement for the contractor
                                                                                                                                                                    to hire from the impacted neighborhoods?
          General Topics                                                               per hour in the peak design period.

                                                                                       Based on the Transportation Research Board’s Highway Capacity                CDOT is prohibited by federal law from requiring contractors on
          GEN1.       What is the purpose of the I-70 East project?                    Manual, to achieve a minimum level of service threshold for a freeway,       any federally funded project to hire from a particular location or
                                                                                       approximately 2,000 passenger cars must pass per hour per lane. The          neighborhood. However, CDOT has submitted an application and
          The purpose of the I-70 East project is to implement a transportation        planned Build Alternatives propose a five-lane cross-section including       received approval under Special Experiment Project 14 (SEP-14) for the
          solution that improves safety, access, and mobility and addresses            an additional lane in each direction between I-225 and I-270 to meet         US DOT pilot program to execute geographic-based hiring preferences
          congestion on I-70.                                                          the forecasted capacity needs. Detailed traffic modeling confirms the        for the I-70 East project. Additionally, CDOT will facilitate opportunities
                                                                                       proposed improvements. Additionally, the volumes and proposed                to promote local hiring, including hosting local job fairs. CDOT is
                                                                                                                                                                    researching funding a local workforce development program aimed at job
          GEN2. What are the limits of the I-70 East project, and                      number of lanes were compared to other freeways in metro Denver,
                                                                                       further confirming the proposed cross sections. Detailed information on      readiness training prior to construction. In general, community outreach
          why were they selected?
                                                                                       traffic volumes and forecasting is available in Chapter 4, Transportation    will continue to be a very important part of the project, particularly as
          The I-70 East project limits extend along I-70 between I-25 and Tower        Impacts and Mitigation Measures of the Final EIS. Additionally, CDOT         construction nears. CDOT will look to a variety of tools to ensure that
          Road. The project area covers locations within Denver, Commerce City,        and FHWA also considered the need for the highway lanes based on             local residents and businesses are well informed of the construction
          and Aurora. This document focuses on the neighborhoods of Globeville,        very recently released DRCOG projections of traffic for 2040 that            phasing and approach.
          Elyria and Swansea, Northeast Park Hill, Stapleton, Montbello, Gateway,      are slightly lower than the 2035 estimates. Based on the segment-by-
          and a portion of Aurora.                                                     segment assessment, the agencies concluded that the Phase 1 project lane
                                                                                       configurations were still appropriate. See Attachment E, Traffic Technical   Outreach Efforts
          Existing and forecasted traffic volumes were the main factor in              Report for more information.
          determining the project limits on I-70. Forecasted traffic volumes for the
          year 2035 range from 95,000 to 270,000 vehicles per day between I-25                                                                                      OUT1. How has CDOT involved the public and other
          and Peña Boulevard, declining east of there. The western limit is I-25       GEN4. How is CDOT using the American Planning                                project stakeholders in the decision making process?
          because of the high diversion of traffic from I-70 to both northbound and    Association’s Peer Review in the project’s decision
          southbound I-25. Between 40 percent and 50 percent of traffic traveling      making process?                                                              CDOT has conducted continuous public involvement on the I-70
          westbound on I-70 diverts onto I-25. Tower Road is the eastern limit                                                                                      East project for more than 11 years, including door-to-door outreach
          because the traffic volumes drop substantially east of Peña Boulevard.       The American Planning Association (APA) conducted a peer review              and public and neighborhood meetings in the most directly impacted
                                                                                       of the I-70 East project during the public comment period for the            neighborhoods. As part of its outreach efforts, CDOT convened a
                                                                                       Supplemental Draft EIS. This review was performed independently              committee of community and stakeholder representatives in 2009 after
                                                                                       from CDOT and FHWA, when the I-70 East project team normally is              publication of the 2008 Draft EIS. This group, the Preferred Alternative
                                                                                                                                                                    Collaborative Team (PACT), met regularly over the course of one year

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     to help identify a preferred alternative. The information gathered during      OUT3. How did CDOT ensure the Spanish-speaking                                2008 Draft EIS, but was later eliminated through the public involvement
     the outreach process has helped the project team refine the project            community was involved in the process and had access                          process and because it was clear that the alternative did not meet the
     alternatives. Stakeholder involvement will continue through final design       to project materials?                                                         purpose and need of the project. Other alternatives that move the
     and construction.                                                                                                                                            highway away from the current alignment were evaluated and found not
                                                                                    Spanish translators have been available throughout the process at             to be reasonable alternatives. All alternatives currently being evaluated
     Some of the meetings, such as the Community Leaders meeting, are               every public meeting and at the project office during the Supplemental        are located on the current alignment of I-70. See Chapter 3, Summary
     intended to be informal. Public meetings held by the I-70 East project         Draft EIS public comment period. The Executive Summary for the                of Project Alternatives, of the Final EIS for more information on the
     team are held in the evenings with notices sent to the public and              Supplemental Draft EIS and the Final EIS are published in both English        alternatives development and analysis process.
     stakeholders two weeks prior to the meeting. CDOT has used many                and Spanish. The materials on the English website are translated to
     different public outreach techniques to invite the public to participate       Spanish on a regular basis and are included on the Spanish version of
     in the meetings. These techniques include, but are not limited to, email                                                                                     ALT3. Was the I-270/I-76 Reroute Alternative
                                                                                    the website (http://www.i-70east.com/index-es.html). All printed and
     blasts, mailers, flyers, door-to-door canvassing, phone invitation, and a      electronic materials distributed to the public—including mailers, flyers,     considered, and will CDOT perform a Supplemental Draft
     neighborhood informational kiosk.                                              emails, newsletters, and posters—are bilingual in English and Spanish.        EIS on the Reroute Alternative?
     To encourage public participation and to make the meetings accessible          Door-to-door outreach in the impacted communities also has been               The I-270/I-76 Reroute Alternative was evaluated and eliminated in
     for the general public, all public meetings have been held at                  conducted with Spanish-speaking team members.                                 the early stages of the 2008 Draft EIS alternatives analysis process
     ADA-accessible locations in nearby neighborhoods including, but not                                                                                          because it did not meet the project’s purpose and need. Elimination of the
     limited to, Elyria and Swansea, Commerce City, Aurora, and Northeast                                                                                         alternative was reaffirmed in Section 3.5 of the 2014 Supplemental Draft
     Park Hill. Food, childcare, and Spanish translation also have been             Alternatives Analysis                                                         EIS after additional analysis was performed because it does not meet the
     provided at all of CDOT’s public meetings.                                                                                                                   project’s purpose to implement a transportation solution that improves
                                                                                                                                                                  safety, access, and mobility, and it does not address congestion on
     Comments received during public outreach efforts were considered               ALT1. Why can’t CDOT select an alternative that has                           I-70. As discussed in Section 3.9 of the Final EIS, it is not a reasonable
     by CDOT and were incorporated in the decision making process as                no impacts to the surrounding environment?                                    alternative because:
     appropriate. These changes include, but are not limited to, refinements to
     the mitigation commitments, updating the air quality analysis, keeping         In NEPA, there is typically a No-Action Alternative that has no impacts          ▪▪ Rerouting I-70 while leaving 46th Avenue at its current location
     the Steele Street/Vasquez Boulevard interchange open, and coordinating         other than routine maintenance activities. The I-70 viaduct needs to be             encourages highway users to use 46th Avenue to reach their
     with Denver on drainage solutions.                                             replaced because of its deteriorating structural conditions. Therefore, the         destinations rather than staying on I-70. Because of this, there will
                                                                                    No-Action Alternative for the I-70 East project cannot be a true                    be a substantial increase in traffic volumes on 46th Avenue, which
     Please refer to Chapter 10, Community Outreach, of the Final EIS for           “No-Action Alternative” due to safety issues. The No-Action Alternative             introduces safety, access, and mobility issues in the surrounding
     details about the project’s outreach efforts to the public and stakeholders.   replaces the viaduct, but does not add capacity in terms of additional              neighborhoods and also creates a barrier for bicyclists and
                                                                                    lanes. However, this alternative does require adding width to the replaced          pedestrians moving through the community.
     OUT2. How are public meeting notes and materials                               structure. All alternatives that are under consideration, including the
                                                                                    No-Action Alternative, expand the footprint of the roadway to meet               ▪▪ Based on the traffic analysis, traffic volumes forecasted for 2035 on
     made accessible to the public and other interested                                                                                                                 46th Avenue if I-70 was to be rerouted will be 10 to 20 times higher
                                                                                    current design and safety standards. See Chapter 3, Summary of Project
     parties?                                                                       Alternatives, of the Final EIS for more information on the alternatives.            (more than 50,000 vehicles per day) than the traffic forecasted
     I-70 East project-specific public meetings are documented and the                                                                                                  for 46th Avenue with the alternatives that leave the highway at its
                                                                                                                                                                        current location.
     meeting notes from these meetings are available on the project website         ALT2. Are alternatives being considered that would
     (http://www.i-70east.com/) and were available as hard copies upon              remove I-70 East from its current alignment?                                     ▪▪ Rerouting I-70 also will force delivery trucks and other large
     request. Handout materials from meetings are translated into Spanish and                                                                                           vehicles to use 46th Avenue frequently to reach the industrial areas
     translators are available at every meeting. Official public hearings on the    More than 90 alternatives have been considered during the EIS process,              and businesses located near the existing I-70.
     2008 Draft EIS and Supplemental Draft EIS included transcripts, which          including alternatives that realign and reroute I-70, an alternative to
     also are available on the project website. This documentation has been         avoid the environmental justice community of Elyria and Swansea, and             ▪▪ There would be an increase in out-of-direction travel, causing
     used to help inform the NEPA process.                                          an alternative that used local networks. One alternative that would have            mobility issues. Of the traffic heading west on I-70, approximately
                                                                                    realigned a portion of the highway was advanced as an alternative in the            50 percent continues past I-25, staying on I-70. The Reroute

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                Alternative adds two miles of out-of-direction travel for these           Impacts and Mitigation Measures                                                  ▪▪ Mitigate permanent impacts to Section 6(f) properties (certain
                vehicles. Thirty-five percent of the traffic heading west on I-70 exits                                                                                       public recreation and outdoor properties) in accordance with Section
                to southbound I-25. The Reroute Alternative adds four miles of                                                                                                6(f)(3) of the Land and Water Conservation Fund (LWCF) Act.
                out-of-direction travel for these vehicles, resulting in increased        IMP1. What plans does CDOT have to offset the
                travel times.                                                             project’s impacts?                                                               ▪▪ Cover, wet, compact, or use chemical stabilization binding agents to
                                                                                                                                                                              control dust and excavated materials at construction sites.
             ▪▪ There will no longer be multiple east-west highway route choices          Many of the mitigation measures CDOT is committing to include
                in the area. The multiple route choices are beneficial for emergency      are typical mitigation measures that would be part of any project.               ▪▪ Use wind barriers and wind screens to prevent spreading of dust
                access.                                                                   One example is Best Management Practices (BMPs), which are                          from the site.
                                                                                          effective, feasible (including technological, economic, and institutional
             ▪▪ This alternative requires more than 12 miles of major highway                                                                                              ▪▪ Cover all dump trucks leaving sites to prevent dirt from spilling
                                                                                          considerations) conservation practices and land and water management
                widening along I-270 and I-76. This increases the project                                                                                                     onto streets.
                                                                                          measures that avoid or minimize adverse impacts to natural and cultural
                construction cost to approximately $3.5 billion to $4 billion, which      resources. BMPs may include schedules for activities, prohibitions,              ▪▪ Prohibit unnecessary idling of construction equipment.
                is twice as much as existing alignment alternatives.                      maintenance guidelines, and other management practices. Physical BMPs
                                                                                          may include items such as hay bales for erosion control or silt fencing.         ▪▪ Locate construction staging areas as far away as possible from
             ▪▪ Many stakeholders—including Commerce City, Adams County,                                                                                                      residential uses.
                the North Area Transportation Alliance, and the Colorado Motor            Additionally, many of the resources evaluated involve regulatory items
                Carriers Association—have expressed continued opposition to this          or procedures that need to be followed, and may include mitigation               ▪▪ Comply with Senate Bill 40 (state wildlife and habitat protection),
                alternative.                                                              requirements. Typical BMPs and regulatory items are included in the                 CDOT Impacted Black-Tailed Prairie Dog Policy, and CDOT
                                                                                          estimate to construct the project, and are not called out separately unless         Standard Specifications for protection of migratory birds.
          Because it has been determined that the I-270/I-76 Reroute Alternative
                                                                                          there is specific reason for doing so. The majority of these items are
          is not reasonable, an additional Supplemental Draft EIS to analyze the
                                                                                          captured within the specifications/construction plans for the project.           ▪▪ Mitigate unavoidable, permanent wetland impacts at a 1:1 ratio in a
          impacts for this alternative in more detail is not necessary. To see more                                                                                           wetland mitigation bank in the South Platte River watershed.
          details on the analysis performed on the I-270/I-76 Reroute Alternative,        Examples of typical mitigation measures and standard BMPs and
          please see Attachment C, Alternatives Analysis Technical Report                 regulatory items to be provided include (note this is not an all-inclusive       ▪▪ Return wetlands temporarily impacted to pre-construction
          Addendum.                                                                       list):                                                                              conditions.

                                                                                             ▪▪ Compensate any person(s) whose property needs to be acquired for           ▪▪ Use best management practices for groundwater dewatering,
          ALT4. Is the Revised Viaduct Alternative still being                                  the Preferred Alternative according to the U.S. Constitution and              treatment, and disposal during the construction process.
          considered in the Final EIS?                                                          the Uniform Relocation Assistance and Real Property Acquisition            ▪▪ Implement standard construction measures for stormwater erosion
                                                                                                Policies Act (Uniform Act) of 1970, as amended.                               control.
          The Revised Viaduct Alternative is a reasonable alternative and is
          considered and evaluated in the Final EIS. However, the Partial Cover              ▪▪ Follow the Programmatic Agreement with the State Historic                  ▪▪ Investigate ways to maintain safe and efficient connections
          Lowered Alternative with Managed Lanes has been identified as the                     Preservation Office (SHPO) for mitigation commitments to historic             through the neighborhood during construction for all modes of
          Preferred Alternative. It provides more opportunities for mitigation in the           resources.                                                                    transportation. This will mean active communication to the residents
          Elyria and Swansea neighborhood and is more widely supported by the
                                                                                             ▪▪ Construct noise walls, as required, to minimize noise impacts for             so that they are aware of temporary street closures and detours. It
          community and various stakeholders.
                                                                                                post-construction conditions.                                                 could also include working with RTD to minimize disruptions to
                                                                                                                                                                              service areas and schedules.
                                                                                             ▪▪ Conduct preconstruction paleontological surveys and continuous
                                                                                                paleontological monitoring during all phases of construction.           Comments received during public outreach efforts were considered by
                                                                                                                                                                        CDOT and reasonable and feasible mitigation ideas were incorporated
                                                                                             ▪▪ Return all parks and trail crossings to their pre-construction state,   in the project as appropriate. In response, the project team has developed
                                                                                                and maintain trail access during construction.                          additional mitigation measures beyond those required or normally




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     provided in Colorado to lessen the adverse impacts in the project study             ▪▪ Provide a robust and context-sensitive communications and                to discharging to the receiving stream, the onsite drainage system will
     area. Any mitigation measures included in the Record of Decision for the               outreach plan throughout construction to ensure residents are kept       discharge to a water quality pond to provide water quality treatment. The
     project must and will be completed.                                                    informed.                                                                outlets of the ponds are smaller than the inlets of the ponds, so runoff is
                                                                                                                                                                     temporarily stored in the ponds and releases over a period of a few days.
        ▪▪ Provide a covered segment over I-70, up to 1,000 feet long,                   ▪▪ Redesign and reconstruct the Swansea Elementary School                   During this time (CDOT requires a minimum drain time of 40 hours),
           where it will pass below grade through the Elyria and Swansea                    playground, including building a playground in a temporary               sediment settles out of the runoff and is stored in the ponds. The runoff,
           Neighborhood, including an urban landscape on top.                               location during construction and rebuilding school parking facilities.   with reduced sediments, discharges to the South Platte River. Permanent
                                                                                            Other mitigation measures for the school include:                        water quality BMPs are included in the design for these systems.
        ▪▪ Provide for a base level of landscaping on the highway cover
           necessary to provide an active community space for surrounding                     -- Install new windows, doors, and a new heating and ventilation
                                                                                                 system (HVAC).                                                      Denver is in the planning stages of its separate Two Basin Drainage
           residents and local neighborhoods, support social and pedestrian                                                                                          Project. Depending on the timing of Denver’s construction of the
           connections in the Elyria and Swansea Neighborhood, and provide                    -- Build two additional classrooms.                                    Two Basin Drainage Project, it could allow for the outflow of the I-70
           new space for the Swansea Elementary School.                                                                                                              East offsite system to be modified, reducing I-70 East impacts for the
                                                                                         ▪▪ Collect representative soil samples of three or four recently
        ▪▪ Provide funding to Community Resource Housing Development                        cleaned-up residential properties pre-, during, and post-construction    Preferred Alternative.
           Corporation (CRHDC), which they will use to assist residential                   to test for lead and arsenic to ensure that the properties aren’t
           and business displacees with financial counseling and procurement                re-contaminated due to construction activities. Require contractor to    IMP3. How will the highway traffic noise be minimized
           of financing for replacement property and securing business and                  implement standard dust control measures (specifically, for PM10),       in the adjacent neighborhoods after construction?
           residential loans. CDOT has already provided funding to CRHDC                    like watering, erosion control blankets, or reseeding, as a condition
           as early mitigation.                                                             for conducting work. In addition, continuous PM10 monitors               Noise impacts and mitigation measures were analyzed in accordance
                                                                                            will be placed along portions of the project corridor where active       with CDOT’s Noise Analysis and Abatement Guidelines (2015).
        ▪▪ To reduce impacts from dust and noise during construction, for                   construction is under way. These monitors will have “alert levels”       Thorough analysis was conducted for each neighborhood and each
           homes between 45th and 47th Avenues, from Brighton Boulevard to                  to give early notice to onsite construction workers if there are high    alternative, including the noise reduction associated with the lowered
           Colorado Boulevard:                                                              dust readings so they can address the problem immediately.               highway and cover in the Partial Cover Lowered Alternative. Mitigation
             -- Provide interior storm windows                                                                                                                       analyzed optimal noise wall placement and height for all impacted
                                                                                         ▪▪ Provide funding and participate in a documentary covering the            receptors. Analysis then determined if the optimal noise walls were
             -- Provide two portable or window-mounted air conditioning                     history of I-70 East and its relationship to the Elyria and Swansea
                units with air filtration and assistance to pay for the potential                                                                                    feasible and reasonable per CDOT’s standards. The Final EIS provides
                                                                                            and Globeville neighborhoods. CDOT has already completed this            details and locations of sound walls that are found to be feasible and
                additional utility costs during construction                                task as early mitigation. This documentary is available on the           warranted. For more information regarding noise analysis and the
        ▪▪ Provide $2 million to replace some low-income housing units                      project website at www.I-70east.com.                                     proposed mitigation measures, see Section 5.12, Noise, of the Final EIS.
           acquired in the Elyria and Swansea Neighborhood through existing           For more detail on and the full list of mitigation measures, refer to
           available programs.                                                        Section 5.23, Summary of Project Impacts and Mitigations, of the Final         IMP4. How will construction impacts to Swansea
        ▪▪ Facilitate opportunities to promote hiring individuals from the            EIS.                                                                           Elementary School be mitigated?
           communities, such as job fairs with contractors. Other areas that
                                                                                                                                                                     CDOT has been working with DPS to develop construction mitigation
           CDOT is researching include investing funds in a local workforce           IMP2. How will water from heavy weather events be                              measures for Swansea Elementary School. An alternate location for the
           development program aimed at job readiness training prior to               conveyed and treated in the lowered section?                                   school will not be implemented during the construction period.
           construction and submitting an application for the US DOT pilot
           program to execute geographic-based hiring preferences for the I-70        Project design for the Partial Covered Lowered Alternative provides            Mitigation measures for the school include providing a new HVAC
           East project.                                                              capture and conveyance for the 1-percent annual chance (100-year)              system, doors, and windows to reduce the dust and noise impacts to
                                                                                      storm event and substantially reduces the risk of flooding north of I-70,      the school and its users, specifically during the roadway construction
        ▪▪ Contribute to existing programs that facilitate access to fresh food.      compared to the existing conditions. An onsite drainage system will            period. CDOT also will pay for the construction of two new classrooms.
                                                                                      capture stormwater from the highway and an offsite drainage system             Providing additional classrooms prior to highway construction will help
                                                                                      will capture stormwater from the surrounding neighborhoods. Prior


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          mitigate some impacts by providing offsetting benefit to the community       If asbestos-containing materials are encountered, including buried           Additionally, to reduce impacts from dust during construction and
          to enhance the overall quality of the school beyond the construction         utilities, CDOT will follow CDOT Specification 250.07,                       minimize the need for window ventilation, for homes between 45th and
          period. These upgrades will be completed before the construction starts.     Asbestos-Containing Material Management, and CDOT                            47th Avenues, from Brighton Boulevard to Colorado Boulevard:
                                                                                       Asbestos-Contaminated Soil Management Standard Operating Procedure.
          CDOT has been coordinating with DPS and Swansea Elementary                   Additionally, depending on the type of contamination, this material will        ▪▪ Provide interior storm windows
          School’s principal throughout the project to identify the school’s needs     be cleaned up in accordance with either Section 5.5 of the Solid Waste
          and redesign the school site. The school playground will be temporarily                                                                                      ▪▪ Provide two portable or window-mounted air conditioning units
                                                                                       Regulations, or Regulation No. 8 of the Air Quality Control Commission             with air filtration and assistance to pay for the potential additional
          reconfigured to move it away from the construction zone, with ultimate       Regulations.
          redesign of the school site included in the final design.                                                                                                       utility costs during construction
                                                                                       The Colorado Department of Labor and Employment, Division of Oil
          Finally, continuous PM10 air quality monitoring will be conducted in the     and Public Safety, regulates petroleum products and chemical USTs            IMP8. How will noise be controlled and minimized
          area during construction to evaluate for any potential temporary increases
          in PM10 levels during construction. This system will alert contractors
                                                                                       and certain petroleum-containing above-ground storage tanks (ASTs).          during construction?
                                                                                       Releases must be reported to the Division of Oil and Public Safety, and
          when increased construction mitigation measures are needed.                  investigation and cleanup must be implemented, as required. Most USTs        Measures will be taken to minimize noise during construction.
                                                                                       have had a spill or leak at some point in their life cycle. Small leaks      Construction noise mitigation measures can be found in the FHWA’s
          IMP5. How is CDOT preserving the impacted historic                           may not be identified until the UST is taken out of service and formally     Highway Construction Noise Handbook. CDOT will require the
          properties within the study area?                                            closed.                                                                      contractor to use BMPs to reduce noise during construction. Additionally,
                                                                                                                                                                    to reduce impacts from noise during construction and minimize the need
          CDOT and FHWA recognize the significance of the historic resources           Groundwater and soil sampling have been performed as part of the             for window ventilation, for homes between 45th and 47th Avenues, from
          within the project area. However, to meet the purpose and need of            hazardous materials analysis for the EIS and the results are available in    Brighton Boulevard to Colorado Boulevard:
          the project, historic resources will be adversely impacted. FHWA and         Section 5.18, Hazardous Materials, of the Final EIS.
          CDOT are working closely with the State Historic Preservation Office                                                                                         ▪▪ Provide interior storm windows
                                                                                       Additionally, CDOT commits to collect representative soil samples of
          (SHPO) and consulting parties to minimize potential effects and institute    three or four recently cleaned-up residential properties pre-, during,          ▪▪ Provide two portable or window-mounted air conditioning units
          appropriate mitigation.                                                      and post-construction to test for lead and arsenic to ensure that the              with air filtration and assistance to pay for the potential additional
          A draft Programmatic Agreement that provides a process to agree              properties aren’t re-contaminated due to construction activities. Any              utility costs during construction
          on mitigation of adverse effects and reevaluate eligibility and effects      hazardous materials that have been exposed during construction will
                                                                                       be identified and treated. This commitment was generated due in large        This project will abide by the appropriate city codes as they pertain
          to historic properties, as appropriate, has been developed and is in                                                                                      to construction noise. If noise levels during construction are expected
          review with SHPO and the consulting parties. The Programmatic                part to comments received during the Supplemental Draft EIS regarding
                                                                                       concerns with arsenic and lead.                                              to exceed the limits from the city codes, the contractor must obtain
          Agreement also includes examples of mitigation measures that could be                                                                                     the necessary ordinance variance which typically includes additional
          implemented. The Programmatic Agreement will be executed prior to the        Section 5.18, Hazardous Materials, of the Final EIS identifies various       mitigation measures. See the Final EIS, Attachment K, Traffic Noise
          ROD and will be included as an attachment.                                   mitigation measures that will be implemented during construction to          Technical Report, under Section 6.4, Construction Noise, for further
          See Section 5.6, Historic Preservation, of the Final EIS for more            protect community and worker health and safety, as well as measures to       information.
          information about the impacts to historic properties and the associated      manage and prevent the spread of contamination, if present.
                                                                                                                                                                    In the vicinity of Swansea Elementary School, construction noise will
          mitigation measures.                                                                                                                                      be reduced to the maximum extent possible during school hours. If
                                                                                       IMP7. How is CDOT planning to minimize dust during                           possible, construction should take place during times when school is not
          IMP6. How will CDOT handle hazardous materials                               construction?                                                                in session. If this is not possible, high construction noise activities should
          identified and/or encountered within the project area?                       Dust suppression measures (for example, stabilizing and covering loads
                                                                                                                                                                    take place during non-school hours. Temporary noise shielding also
                                                                                                                                                                    could be used around the school playground and other outdoor areas of
          CDOT will conduct appropriate surveys for asbestos, lead-based paint,        of soil and debris during transport and storage, watering disturbed areas,   frequent use.
          and universal wastes prior to demolition of any building structures. If      and/or stabilizing and revegetating exposed areas after construction) will
          these materials are encountered, they will be removed in accordance with     be implemented to control dust impacts.
          applicable regulations and guidelines.

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     Preferred Alternative                                                        highway cover and the school and a safe environment for students to use
                                                                                  the cover facilities, 46th Avenue on the north side of the highway will be
                                                                                  discontinued between Clayton Street and Columbine Street.
     PA1.     What are the benefits of the highway cover?
                                                                                  The landscaped cover also supports social connections in the Elyria and
     Incorporation of the highway cover will help reconnect the surrounding       Swansea Neighborhood by creating a place where residents and visitors
     neighborhoods by providing easy and safe connections between these           can gather and interact. The amenities and design in this space—such as
     communities for all users, especially pedestrians and bicyclists. The        playgrounds and sports fields— will be based on community input and
     inclusion of the highway cover with an urban landscape and a community       needs.
     space helps achieve some broader community goals of livability, quality
     schools, and safe streets along with supporting the existing communities
                                                                                  PA3.     Who will maintain the highway cover?                                     This photo from the Twin Tunnels on I-70 outside of Idaho
     along the corridor. In addition, the highway cover reduces noise impacts
                                                                                                                                                                  Springs, Colorado is an example of latest lighting technologies
     in adjacent areas. The cover will directly contribute to improved air
                                                                                  CDOT is responsible for the maintenance of the structure of the cover.                          (on left) vs. old standards of lighting.
     quality, resulting in PM10 concentrations that are lower at Swansea
                                                                                  Maintenance of the features and landscaping on the cover has not been
     Elementary School and the surrounding area than they would be in the
                                                                                  determined at this time. CDOT is working with Denver and DPS to
     future without the cover (No-Action Alternative). Additionally, the cover
     will indirectly improve neighborhood conditions by encouraging walking
                                                                                  develop agreements for shared use on the cover and long-term operations        PA6. Will the Steele Street/Vasquez Boulevard
     and bicycling for short trips to local destinations.
                                                                                  and maintenance of the cover. The maintenance commitment plan will             interchange be closed with the Preferred Alternative?
                                                                                  be developed and these agreements will be finalized before construction
                                                                                  begins.                                                                        As identified in the Final EIS, the Steele Street/Vasquez Boulevard
     PA2. Why was the cover provided as part of the                                                                                                              interchange will remain open as part of the Preferred Alternative design
     Preferred Alternative?                                                       PA4. What features will be included in the cover
                                                                                                                                                                 in response to the comments received during the Supplemental Draft EIS.
                                                                                                                                                                 Highway access would be provided through a split-diamond interchange
     The Partial Cover Lowered Alternative was developed in response              design?                                                                        at Steele Street/Vasquez Boulevard and Colorado Boulevard with slip
     to the community’s concerns to reconnect the Elyria and Swansea                                                                                             ramps. The slip ramps allow for full movement at the interchange while
                                                                                  The cover is intended to be a shared space between the surrounding
     Neighborhood by removing the existing viaduct or the potential for
                                                                                  community and Swansea Elementary School. The landscaped cover also             minimizing traffic in the neighborhood and the footprint of the highway
     a newly constructed viaduct, and placing the highway below ground                                                                                           at the Steele Street/Vasquez Boulevard interchange. See Chapter 3,
                                                                                  supports social connections in the Elyria and Swansea Neighborhood
     level. By placing the highway below grade in this area, the visual barrier                                                                                  Summary of Project Alternatives, of the Final EIS for more information.
                                                                                  by creating a place where residents and visitors can gather and interact.
     created by the existing viaduct will be eliminated. The 900 foot cover
                                                                                  The amenities and design in this space—such as playgrounds and sports
     over the lowered section of I-70 will have a park or urban landscape
                                                                                  fields— will be based on community input and needs. See Attachment P,          PA7. Why was the Managed Lanes Option identified as
     on it that can draw in residents from both the north side and the south
                                                                                  Cover Planning Efforts, of the Final EIS for more information regarding        the preferred operational option?
     side of the highway, creating a seamless connection across the highway
                                                                                  cover planning.
     and providing additional connectivity within the neighborhood. It will
                                                                                                                                                                 The Managed Lanes Option is identified as the Operational Option of
     be located between Clayton Street and Columbine Street and will not
                                                                                                                                                                 the Preferred Alternative because of its long-term operational flexibility
     exceed 1,000 feet in length due to ventilation requirements mandated in      PA5.     What will lighting be like under the cover?
                                                                                                                                                                 and mobility benefits. Managed lanes provide drivers with flexibility
     fire and safety standards.
                                                                                  The lighting of the covered section will be designed to meet fire and          by allowing them to pay a fee to bypass congestion in general-purpose
     The cover for the highway was developed to mitigate the adverse              safety requirements, as well as to avoid the “black hole effect,” which        lanes, improving reliability in travel times. It also allows CDOT to
     impacts to the Elyria and Swansea Neighborhood and to restore and            was a major issue with the old I-70 Stapleton tunnels. The covered area        manage congestion over the long term, reducing the need for future
     enhance neighborhood cohesion, which was disrupted decades ago by the        of the highway will be well lit by using the latest lighting technologies to   expansion. The Managed Lanes Option also has a higher throughput
     original I-70 construction in the 1960s. The highway cover is intended       enhance drivers’ safety and operations on the highway.                         potential, meaning it accommodates more people at a given time. This
     to serve as an active community space for the surrounding residents                                                                                         option accommodates express buses, vanpools, and other high-occupancy
     and local neighborhoods, while also providing mitigation for Swansea                                                                                        vehicles, providing increased service to those riders. This option also
     Elementary School. To provide a seamless connection between the                                                                                             promotes the use of carpools to avoid congestion.


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          PA8. Does the Preferred Alternative include a second                             ▪▪ Steele Street/Vasquez Boulevard: vehicular connection across I-70       EIS show that EPA’s air quality standards for CO and PM10 will be
          highway cover?                                                                      is maintained as a two-way street                                       met, PM10 levels will be better at Swansea Elementary School with the
                                                                                                                                                                      project than under the No-Action Alternative and MSATs will drop by 70
          A second cover is not included as part of the Preferred Alternative.             ▪▪ Cook Street: two-way vehicular connection across I-70 is added          to 90percent regardless of which alternative is chosen. Potential impacts
          However, to accommodate Denver’s interest in constructing a second                                                                                          from the I-70 redevelopment project, including effects of each alternative
                                                                                           ▪▪ Madison Street: vehicular connection to 46th Avenue South is
          cover in the future, the Preferred Alternative includes an overall approach                                                                                 on the ability to meet the health-based NAAQS, and on levels of MSATs,
                                                                                              maintained; access to 46th Avenue must be made via the proposed
          to design and construction that would not preclude the construction of a                                                                                    are discussed in detail in Section 5.20, Human Health Conditions, in the
                                                                                              Monroe Street one block east; access across I-70 does not currently
          second cover over the highway from west of the Steele Street/Vasquez                                                                                        Final EIS.
                                                                                              exist
          Boulevard interchange to east of Cook Street. If a second cover is
          pursued by others in the future, air quality would need to be analyzed.          ▪▪ Monroe Street: two-way vehicular connection across I-70 is added;       As seen in the emissions inventories for NAAQS pollutants and MSATs,
                                                                                              new roadway is extended north and south to replace the eliminated       the difference between the alternatives (including the No-Action
                                                                                              Garfield Street connection                                              Alternative) in emissions is around 2 to 4 percent or less. See Attachment
          PA9. Does the Preferred Alternative reduce                                                                                                                  J, Air Quality Technical Report. Further, the emissions (and, therefore,
          north-south connectivity?                                                        ▪▪ Garfield Street: connection across I-70 is eliminated and replaced by   likely concentrations) associated with I-70 East are substantially
                                                                                              the new Monroe Street connection                                        declining because of improved mobility, reduced congestion, and cleaner
          The following north/south connections from Brighton Boulevard to
                                                                                                                                                                      vehicle emission standards. For example, the MSAT emissions estimates
          Quebec Street are included, maintained, modified, or eliminated based on         ▪▪ Colorado Boulevard: vehicular connection over I-70 remains              prepared by APCD show that diesel particulate matter emissions are
          the analysis and continued coordination:
                                                                                           ▪▪ Dahlia Street: vehicular connection under I-70 remains                  predicted to drop from 749 pounds per day in 2010 to 48 pounds per day
             ▪▪ Brighton Boulevard: vehicular connection under I-70 remains                                                                                           (No-Action Alternative) or 49 pounds per day (Partial Cover Lowered
                                                                                           ▪▪ Holly Street: vehicular connection under I-70 remains                   with Managed Lanes) in 2035. Benzene emissions are predicted to drop
             ▪▪ York Street: vehicular connection across I-70 is maintained as a                                                                                      from 133 pounds per day in 2010 to 26 pounds per day (No-Action
                one-way street                                                             ▪▪ Monaco Street: vehicular connection under I-70 remains                  Alternative) or 27 pounds per day (Partial Cover Lowered with Managed
                                                                                                                                                                      Lanes) in 2035. The other MSATs emissions will have similar reductions.
             ▪▪ Josephine Street: vehicular connection across I-70 is maintained as        ▪▪ Quebec Street: vehicular connection under I-70 remains
                                                                                                                                                                      See Attachment J, Air Quality Technical Report at Section 7.4. All of
                a one-way street                                                                                                                                      these emissions levels incorporate predicted increases in VMT in the
                                                                                        For more information on the north/south connections that are proposed
             ▪▪ Columbine Street: vehicular connection across I-70 is maintained as     as part of the Preferred Alternative, please see Chapter 3, Summary of        corridor. Thus, a health impacts assessment would, at most, show very
                a two-way street                                                        Project Alternatives, in the Final EIS.                                       minor differences between alternatives with much lower impacts than
                                                                                                                                                                      historic or current levels in terms of air quality impacts. This would not
             ▪▪ Elizabeth Street: direct vehicular connection south of I-70 does                                                                                      affect choices among the reasonable alternatives.
                not currently exist; Elizabeth Street between 47th Avenue and
                46th Avenue North will be vacated to accommodate the school             Air Quality and Health
                improvements
                                                                                                                                                                      AQ2. Why were additional transportation-related
                                                                                                                                                                      pollutants, including fine particulates (PM2.5) and
                                                                                        AQ1. Was a Health Impact Assessment performed for
             ▪▪ Thompson Court: vehicular connection to 46th Avenue is                                                                                                oxides of nitrogen (NO2), not examined at the same level
                                                                                        the I-70 East Final EIS?
                maintained; access across I-70 does not currently exist                                                                                               of detail given to carbon monoxide (CO) and coarse
             ▪▪ Clayton Street: vehicular connection across I-70 is maintained as a     Based on public comments, much of the concern for health relates              particulates (PM10)?
                two-way street                                                          to the air quality surrounding the highways. A health study (health
                                                                                        impact assessment or health risk assessment) is not required by NEPA          The Air Quality protocols (available in Attachment J of the Final EIS,
             ▪▪ Fillmore Street: vehicular connection across I-70 is added as a         or the Clean Air Act and therefore it has not been performed for this         Air Quality Technical Report, Appendix A) were developed through
                two-way street                                                          project. The current health status of the affected communities has            interagency coordination between CDOT, the FHWA, the CDPHE, and
                                                                                        been thoroughly discussed in the DEH’s Health Impact Assessment               the EPA. All agencies agreed to the protocols, which did not include
             ▪▪ Milwaukee Street: vehicular connection to 46th Avenue is                (September 2014). The Final EIS adds to the information discussed in the      PM2.5 or NOx modeling.
                maintained; access across I-70 does not currently exist                 DEH study by showing how air quality is likely to change in the future
                                                                                        under different project alternatives. The analyses conducted for the Final

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     PM2.5 and NO2 were not modeled for roadside concentrations in the             conducted at the worst-case scenario locations within the project study         Finally, in 2011, three studies were published by the Health Effects
     Final EIS because they are not pollutants of concern in the Denver            area, ensuring that air quality conditions in other areas will be less than     Institute evaluating the potential for MSAT hot spots. In general, the
     area or the project area at the present time or for the foreseeable future.   those resulting from the hotspot analyses.                                      authors confirmed that while highways are a source of air toxics,
     The Denver area has never violated the NAAQS for PM2.5 and is not                                                                                             they were unable to find that highways were the only source of these
     in imminent danger of doing so based on current monitoring data and           Additionally, modeling receptors were placed at Swansea Elementary              pollutants. They determined that near-road exposures often were no
     predicted trends. The current sixth-highest 24-hour value (which is the       School for the PM10 hotspot analysis, with the results presented in             different or no higher than background (or ambient) levels of exposure
     value used to determine compliance per EPA’s regulation) for PM2.5 at         Exhibit 5.10-13 of the Final EIS to show that all of the locations modeled      and, hence, no true hot spots were identified. These reports (Report
     CDPHE’s I-25/8th Avenue monitoring site (which has higher ADT than            would remain well below the health-based NAAQS for PM10. Air                    Numbers 156, 158, and 160) are available from the Health Effects
     the current I-70 East project area) is 30 µg/m3, compared to the standard     monitoring will be conducted during construction activities to ensure that      Institute’s website: http://pubs.healtheffects.org/index.php.
     of 35 µg/m3. Therefore, no hotspot modeling for PM2.5 is required. With       air quality at the school does not reach dangerous levels.
     regard to NO2, the EPA conformity regulations do not require hotspot                                                                                          Additionally, CDOT notes that while the incidence of some health effects
     modeling for NO2. See 40 C.F.R. Section 93.116.                                                                                                               (such as asthma, autism, and attention-deficit/hyperactivity disorder)
                                                                                   AQ4. Will exposure to highway air pollution result in
                                                                                                                                                                   in the U.S. population appears to have been increasing, motor vehicle
     PM2.5 and NO2 were examined through emissions inventories. There is           adverse health conditions?                                                      emissions have declined. This decline in MSAT emissions is documented
     very little variation in emissions between the Build Alternatives and the     Current research states that exposure to highway air pollution can result       in Figure 13 of Attachment J, Air Quality Technical Report, of the Final
     No-Action Alternative due to improved mobility, reduced congestion,           in adverse health conditions; however, it is difficult to determine the         EIS and for other pollutants at epa.gov/ttn/chief/trends/. This negative
     and cleaner vehicle standards.                                                extent the emissions from I-70 would affect the surrounding community.          correlation between emissions trends and health effects trends illustrates
                                                                                   NAAQS limits set by EPA, protect human health. The modeled air                  the complexity of the issues. Health Risk Assessments that have been
                                                                                                                                                                   conducted for highways show health risks well below EPA’s acceptable
     AQ3. Will the highway improvements cause an                                   quality values for the I-70 East project are below the NAAQS and
                                                                                   demonstrate that there is no exceedance or impact from the project based        risk factors. For example the conclusion from the South Mountain
     increase in air pollution for local residents or Swansea                                                                                                      Freeway Health Risk Contributions from Highway Projects found: “the
                                                                                   on EPA’s health-based standards for these pollutants. Therefore, there are
     Elementary School?                                                                                                                                            MSAT risk estimates in the studies summarized above are correct, it
                                                                                   no projected impacts from the project related to pollutants covered by the
                                                                                   NAAQS.                                                                          means that the incremental risk of cancer from breathing air near a major
     The MSAT and NAAQS air quality analysis performed for the Final
                                                                                                                                                                   roadway is several hundred times lower than the risk of a fatal accident
     EIS shows that overall emissions will decrease in the future because of
                                                                                   The Health Effects Institute Special Report #16, Mobile-Source Air              from using a major roadway.”
     improved mobility, reduced congestion, and cleaner vehicle emission
                                                                                   Toxics: A Critical Review of the Literature on Exposure and Health
     standards. For MSATs, the analysis showed that the I-70 East project                                                                                          The EPA’s National Emission for Hazardous Air Pollutants for benzene
                                                                                   Effects, states the cancer health effects attributable to MSATs are difficult
     will have a minimal effect on annual emissions within the study area (see                                                                                     emissions is based on a risk level of 100 cases of cancer per million.
                                                                                   to discern because the majority of quantitative assessments are derived
     Exhibit 5.10-21 of the Final EIS), with the various alternatives showing                                                                                      Meanwhile, the EPA’s 2007 rule covering vehicles and fuels is designed
                                                                                   from study groups of workers with high concentration exposures and
     a range of annual MSAT emissions from 2.1 percent to 3.8 percent above                                                                                        to a risk level of approximately 5 cases of cancer in a million; 20 times
                                                                                   because some cancer potency estimates are derived from animal models.
     the No-Action Alternative in the design year of 2035. The overall trend                                                                                       less than the standard for the pollutant in general.
                                                                                   Exposure to many MSATs comes from sources other than vehicles, and
     in MSAT emissions is clearly downward with all alternatives showing
                                                                                   identifying effects in community studies is challenging because of low          Also see Section 5.20, Human Health Conditions, of the Final EIS for
     an approximately eight- to nine-fold decrease from current rates by 2035
                                                                                   ambient concentrations, exposures to multiple possible toxicants, and           project-specific information on the topic. AQ2 and AQ3 have information
     (Exhibit 5.10-21 of the Final EIS).
                                                                                   other confounding factors.                                                      on declining emissions.
     Throughout the NEPA process, CDOT and FHWA have consulted
                                                                                   In January 2010, the Health Effects Institute released Special Report
     extensively with the EPA and CDPHE on the approach and methods
                                                                                   #17, investigating the health effects of traffic-related air pollution. The     AQ5. What will air quality be like in and near the park
     for the air quality analyses. This consultation has resulted in agreement
                                                                                   researchers felt that there was “sufficient” evidence for linking asthma        planned for the highway cover in the Partial Cover
     on the analysis methodologies and the results of these analyses. The
                                                                                   to traffic related pollution. Evidence was “suggestive but not sufficient”
     roadside (hotspot) CO and PM10 analyses used the current traffic                                                                                              Lowered Alternative, as well as inside the covered
                                                                                   for other detrimental health outcomes such as cardiovascular mortality.
     estimates and emissions and pollutant dispersion models, and were
                                                                                   Study authors also noted that past epidemiological studies may not              highway section itself?
     reviewed by the EPA. The CO hotspot analysis showed that all
                                                                                   provide an appropriate assessment of future health associations because
     alternatives will result in CO levels well below the NAAQS. The PM10                                                                                          Air quality around the cover was examined in the I-70/I-25 PM10
                                                                                   vehicle emissions are decreasing over time.                                     hotspot analysis, utilizing state-of-the-art modeling software to estimate
     analysis showed that all alternatives will result in levels at or below the
     NAAQS for this pollutant. It is also worth noting that both analyses were                                                                                     the pollutant concentrations in the area. This analysis showed that all of

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          the areas around Swansea Elementary School and the cover were well            In the I-70/I-25 PM10 hotspot analysis, for example, the modeled              the I-70 East project will focus on PM10 monitors in active construction
          below the ambient air quality standards for PM10. Additionally, Exhibit       PM10 concentration for the Preferred Alternative is 57 µg/m3, whereas         areas along the corridor, as practicable, to monitor hourly PM10
          5.10-13 of the Final EIS shows that modeled PM10 concentrations               the No-Action Alternative concentration is 62 µg/m3. Nine of the 10           concentrations. The purpose of this temporary monitoring will be to
          at Swansea Elementary School will be lower with the Partial Cover             receptors at Swansea Elementary School show PM10 concentrations that          maintain awareness of dust generation from active ground-disturbing
          Lowered Alternative than with the No-Action Alternative or the Revised        are 10 µg/m3 lower for the Preferred Alternative than for the No-Action       processes, such as demolition, excavation, rock crushing, etc.; to help in
          Viaduct Alternative, as a result of the cover adjacent to the school.         Alternative, with the same concentration between the two alternatives for     identifying localized rising dust levels; and to activate a responding BMP
                                                                                        the remaining receptor.                                                       Implementation Plan if dust levels attain pre-determined thresholds.
          With regard to air quality within the covered highway section, the cover
          was designed to be short enough not to require artificial ventilation         The design values for all alternatives at the I-25 hotspot and I-225          Additionally, as noted in Section 5.18, Hazardous Materials, of the Final
          during normal operation. As the two directions will be separated by           hotspot locations are equal to or below the 24-hour PM10 NAAQS of             EIS, site-specific health and safety and materials management plans
          a full-height wall, the action of cars moving through each side of the        150 µg/m3. The greatest difference between the No-Action Alternative          will be developed by CDOT to stipulate required response measures
          covered section will keep air moving through so that pollutants do not        and a Build Alternative occurs at the I-225 hotspot for the Revised           if hazardous materials are encountered during construction to ensure
          accumulate to unhealthy levels. According to a fire safety and ventilation    Viaduct and Partial Covered Lowered Alternatives with Managed Lanes           protection of worker and public health and safety.
          report prepared for the project (Appendix E to the Air Quality Technical      Option. These alternatives show increases of as much as 57 percent
          Report of the 2014 Supplemental Draft EIS), traffic would have to be at       between modeled concentrations, but still below the NAAQS.
          a complete stand still for 27 minutes before the level of pollutants would
          rise to the point of requiring ventilation. In such a situation, or in case
                                                                                                                                                                      Property Impacts
                                                                                        AQ7. How does CDOT plan to monitor the air
          of a fire or other accident that could cause unhealthy air quality under
          the cover, an emergency ventilation system will be provided to clear the      quality in the adjacent neighborhoods and near                                PROP1. Does the Managed Lanes Option require
          air and keep it safe for people inside. The design of the cover includes      Swansea Elementary School before, during, and after                           additional right-of-way acquisition?
          jet fans that will help move the air through the covered portion of the       construction activities?
          highway, when necessary.                                                                                                                                    The Managed Lanes Option does not require more width or lanes than
                                                                                        Prior to beginning the construction phase, the contractor will be required    the General-Purpose Lanes Option west of I-270 (five general-purpose
          With regard to air quality near the openings of the covered highway           to produce a Fugitive Dust Control Plan for the project, which must be        lanes in each direction for the general-purpose lanes option, three
          section, studies have shown that pollutant concentrations dissipate           approved by the CDPHE’s Air Pollution Control Division (APCD) as              general-purpose lanes and two managed lanes in each direction for the
          rapidly with distance from the tunnel openings. See the Air Quality           part of the air permitting process. The plan will be reviewed by APCD         managed lanes option). The Managed Lanes and General-Purpose Lanes
          Technical Report, Attachment J to the Final EIS for more information.         staff to ensure that BMPs are stipulated for the control of airborne dust     Options both use the same width for analysis purposes. East of I-270, the
                                                                                        from construction activities. Adherence to the plan during construction       Managed Lanes Option is wider than the General-Purpose Lanes Option
          AQ6. Will the Preferred Alternative worsen the air
                                                                                        activities will minimize the effects of dust on surrounding communities.      in the ultimate configuration, because of additional ramps that will
                                                                                                                                                                      provide direct connections from the Managed Lanes to I-270, I-225, and
          quality in the project area?                                                  The construction project team also will establish a Construction Air
                                                                                                                                                                      Peña Boulevard.
                                                                                        Quality Monitoring Plan, which will outline the specific monitoring
          By improving mobility and reducing congestion through increased               needs, equipment, and processes used to measure, maintain, and report
          capacity and reduced travel times along with the closure of the Pilot         PM10 data. It will establish data capture and public data reporting           PROP2. What property impacts will the Preferred
          Travel Center truck stop as a result of the project, the Preferred            protocols. The plan will include supporting documents that define             Alternative have to the nearby neighborhoods? How will
          Alternative is anticipated to generally improve air quality in the area
          compared to the No-Action Alternative. As seen in the emissions
                                                                                        concentration thresholds for alerting onsite construction management          CDOT assist the displaced residents?
                                                                                        to rising dust levels that they need to implement extra dust suppression
          inventories for NAAQS pollutants and MSATs, the difference between            BMPs at the target site. A list of BMPs and construction activities will      The Preferred Alternative will require the acquisition of property that
          the alternatives (including the No-Action Alternative) in emissions is        be included in this plan. The plan also will include quality control          will result in the relocation of 56 residential units and 18 businesses
          around 2-4 percent or less, even though VMT will increase. See the            and action plan items required for EPA and APCD data reporting and            (including one non-profit organization).
          Air Quality Technical Report, Attachment J to the Final EIS for more          equipment calibration and maintenance.
          information.
                                                                                        During construction, air monitoring will be conducted to ensure that
                                                                                        dust control efforts are successful in preventing violations of air quality
                                                                                        standards. The air quality monitoring conducted during construction on

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      CDOT will notify all impacted owners and renters of the intent to acquire    through the lowered section of I-70, the cover and sound walls. Moving            ▪▪ Opening a project office within the project area
      an interest in their property, including providing a written offer of just   residents of homes not needed for actual construction would be an
      compensation specifically describing those property interests. A             expensive measure that would disrupt communities rather than improving            ▪▪ All public meetings are conveniently located within the project area
      right-of-way specialist will be assigned to each property owner to help      them by displacing more people than the bare minimum necessary to                    and accessible by public transportation
      them understand and navigate this process.                                   safely meet the purpose and need.                                                 ▪▪ Providing childcare, food, and translations at every public meeting
      Residents (renters or owners) will not be required to move unless at                                                                                           ▪▪ Providing notifications and advertisements in both English and
      least one comparable Decent, Safe, and Sanitary (DSS) replacement unit       PROP5. Will CDOT relocate Swansea Elementary
                                                                                                                                                                        Spanish
      is available. DSS standards are established by federal regulations and       School farther away from I-70 to lessen the impacts from
      conform to applicable local housing and occupancy codes. CDOT will           the project?                                                                      ▪▪ Provide announcements in local and regional media and at faith-
      provide comparable replacement housing that is DSS and within the                                                                                                 based organizations
      resident’s financial means, before any residents will be required to move.   Swansea Elementary School has been identified as a very important and
      If such comparable replacement housing is not available, the regulations     valuable resource in the Elyria and Swansea Neighborhood. The project             ▪▪ Using local businesses to cater meetings and provide translation
      allow the agency to provide a replacement housing payment in excess of       team researched the neighborhood to identify another suitable locations              services
      the statutory maximum as part of the Last Resort Housing process.            for the school. The only available location identified was where the
                                                                                   Swansea Recreation Center currently resides. The community expressed              ▪▪ Employing project area residents to lead and staff outreach efforts
      The Fifth Amendment of the U.S. Constitution provides that private           opposition to moving the school to the recreation center site because of          ▪▪ Distributing flyers door-to-door to area residences and businesses
      property may not be taken for a public use without payment of just           the adjacent railroad tracks. The decision to keep the school at its current
      compensation. Additionally, the Uniform Relocation Assistance and Real       location was made during outreach opportunities conducted to review               ▪▪ Providing several methods of contact with the project team
      Property Acquisition Policies Act of 1970 (Uniform Act) is a federally       alternative sites for the school, and surveys of parents at the school               including e-mail, telephone, website, postal mail, and walk-ins
      mandated program that applies to all acquisitions of real property or        during the PACT process.
      displacements of persons resulting from federal or federally assisted                                                                                          ▪▪ Providing all communication in both English and Spanish
      programs or projects, such as the implementation of these project            CDOT developed the Partial Cover Lowered Alternative to keep the
                                                                                   school in its current location while minimizing impacts to it. The             CDOT performed critical analyses that focused on specific impacts in
      alternatives. The Uniform Act was created to provide for and ensure that
                                                                                   mitigation for the school redesigns and expands the school grounds and         these underserved communities, including some that are mentioned
      just compensation for government-acquired land is applied “uniformly.”
                                                                                                                                                                  in the 2014 DEH Health Impact Assessment: neighborhood and street
      CDOT requires Uniform Act compliance on any project for which it has         provides upgrades to the school building.
                                                                                                                                                                  connectivity, air quality, access to transit, bicycle and pedestrian
      oversight responsibility, regardless of the funding source.
                                                                                   The residents of the Elyria and Swansea neighborhood are in favor of the       facilities, and relocations. To address impacts of the highway project,
                                                                                   school remaining at its current location with the Preferred Alternative.       CDOT has identified mitigation measures above and beyond standard
      PROP3. Will CDOT replenish the housing stock in the                          DPS also supports this decision.                                               mitigation measures to alleviate the impact on these neighborhoods.
      neighborhood to mitigate the acquisition impacts?                                                                                                           See Section 5.3, Environmental Justice, of the Final EIS for more
                                                                                                                                                                  information.
      To offset the loss of some residential units in the neighborhood, CDOT
      will provide $2 million in funding to develop affordable housing units in    Environmental Justice Considerations
      the Elyria and Swansea Neighborhood through available programs.                                                                                             EJ2. Are there any high and adverse impacts to the
                                                                                   EJ1. Has CDOT accounted for impacts to the                                     Environmental Justice community as a result of the
                                                                                   Environmental Justice communities?                                             project?
      PROP4. Will residents in the vicinity of I-70 be
      provided assistance to move if they choose to move?                          CDOT recognizes that the project passes through environmental justice          The benefits of the project with the alternatives are fairly distributed
                                                                                   neighborhoods, and so provided an unprecedented level of public                in the project area. The project has avoided some impacts, minimized
      The only parties eligible for relocation benefits from CDOT are building                                                                                    others, and mitigated all impacts that could not be avoided or minimized.
      occupants who are directly displaced by a CDOT acquisition as a result       involvement tailored to meet the needs of these low-income and minority
                                                                                   people to find ways to improve the project, and lessen the impact of the       Without considering the avoidance, minimization, and mitigation
      of this project and who meet the applicable requirements for eligibility.                                                                                   measures, the project will have a disproportionately high and adverse
      Relocation is not needed or appropriate for other residents because          project. The I-70 East project team used a variety of tools to solicit input
                                                                                   and involvement from stakeholders that addressed issues of diversity in        impact to the environmental justice communities. However, the I-70
      air pollutant concentrations will be below federal health standards                                                                                         East Project includes many innovative mitigation measures to offset
      and declining over the life of the project. Noise levels will be lowered     language, level of literacy, and exposure to media including:

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          the impacts to the low-income and minority populations. Some of these         homes and businesses. Additional north-south connectivity also has been        mitigate some impacts by providing offsetting benefit to the community
          mitigation measures include but are not limited to, providing residents       added to this alternative to improve community cohesion compared to            to enhance the overall quality of the school beyond the construction
          close to the highway construction interior storm windows and two free         the Existing Alignment Alternatives in the 2008 Draft EIS.                     period. These upgrades will be completed before the construction starts.
          portable or window-mounted air conditioning units with air filtration and
          assistance for the potential additional utility costs during construction,    Next, to reduce the visual presence of the viaduct in these                    See Section 5.3, Environmental Justice, of the Final EIS for more
          providing contributions to existing programs that facilitate access to        neighborhoods, improve connectivity, and improve safety in the area, the       information.
          fresh food, providing HVAC system and upgraded doors and windows              project team introduced a new alternative in the Supplemental Draft EIS:
          for the Swansea Elementary School, and providing funding to CRHDC             the Partial Cover Lowered Alternative, after listening to concerns raised
          to assist residential and business displacees with financial counseling       during the PACT process. This alternative removes the viaduct between
                                                                                        Brighton Boulevard and Colorado Boulevard and places the highway
                                                                                                                                                                       Transportation and Traffic
          and procurement of financing for replacement property and securing
          business and residential loans. After considering the benefits of the Build   below grade in this area. It includes a highway cover between Columbine
          Alternatives along with the avoidance, minimization, and mitigation, the      Street and Clayton Street with an urban landscape for community                TRANS1. Have other multi-modal forms of
          Build Alternatives will not cause disproportionately high and adverse         use. Removing the viaduct improves safety compared to the existing             transportation been investigated for this corridor?
          effects on any minority or low-income populations, in accordance with         conditions by eliminating falling objects from the highway, removing
                                                                                        the dark space under the viaduct, and eliminating the unsafe crossings as      The purpose of this project is to implement a transportation solution that
          the provisions of Executive Order 12898 and FHWA Order 6640.23A.
                                                                                        they exist currently under the viaduct. The support in the neighborhoods       improves safety, access, and mobility and addresses congestion on I-70
          No further environmental justice analysis is required.
                                                                                        most affected by the project lead CDOT to identify this alternative as the     in the project area. This project began in 2003 as part of the I-70 East
          Additionally, the Managed Lanes Option raises environmental justice           Preferred Alternative.                                                         Corridor project, which looked at both highway and transit solutions
          questions related to equity impacts: who can use the facility, will there                                                                                    including various rail and Bus Rapid Transit (BRT) routes. The process
          be additional impacts, are there impacts to those who don’t have cars,        In addition, the Partial Covered Lowered alternative will improve              was a joint effort initially between both highway and transit agencies.
          and has everyone been involved in the public process. The managed             north-south connectivity, provide better pedestrian access and sidewalks,      In June 2006, the highway and transit elements of the project were
          lanes will provide reduced travel times for users at all income levels,       and improve bicycle options in the project area. These will benefit all        separated since it was decided that they serve different travel markets,
          and provide a reliable trip through the corridor when drivers consider        residents in the environmental justice neighborhoods.                          are located in different corridors, and have different funding sources. The
          it worth the toll. While the pricing on managed lanes will provide more                                                                                      East Corridor transit project will connect Denver International Airport
                                                                                        CDOT will also provide a level of mitigation never provided on other
          reliable options, it will be implemented with thorough consideration of                                                                                      to Union Station in Downtown Denver along Smith Road, south of I-70.
                                                                                        projects for residents close to the highway construction, to reduce
          equity impacts. Further, the improvements in north-south connectivity for                                                                                    Construction of the East Corridor transit project is currently underway
                                                                                        impacts from dust and noise during construction and minimize the need
          pedestrian access and bicycle options will benefit mobility for those who     for window ventilation, for homes between 45th and 47th Avenues, from
                                                                                                                                                                       and is anticipated to be complete in 2016. For more information about
          live in the environmental justice neighborhoods and do not own cars.                                                                                         the transit project, visit: http://www.rtd-fastracks.com/ec_1.
                                                                                        Brighton Boulevard to Colorado Boulevard:
          See Section 5.3, Environmental Justice, of the Final EIS for more                ▪▪ Provide interior storm windows
          information.                                                                                                                                                 TRANS2. How will the project improve walkability
                                                                                           ▪▪ Provide two portable or window-mounted air conditioning units            and bicycle routes for the neighborhoods, especially
                                                                                              with air filtration and assistance to pay for the potential additional   near the interchanges and along north-south street
          EJ3. What has CDOT done to minimize impacts to the
                                                                                              utility costs during construction                                        connections?
          Environmental Justice neighborhoods?
                                                                                        During the public involvement process, the project team heard from the         The proposed Preferred Alternative is consistent with Denver’s bike
          The project team has consistently been receiving comments concerned           residents of the impacted neighborhood that Swansea Elementary School          plan and has evolved to follow Denver safety standards for bicycles
          about the impacts to the residential and business properties between          is an important resource for them. Therefore, additional mitigation            and pedestrians. It will improve the bicycle and pedestrian experience
          Brighton Boulevard and Colorado Boulevard. The project has been               measures were developed so that the school can remain at its current           in the project area by providing safe crossings across the highway and
          modified at various stages of the NEPA process over the course of             location. These mitigation measures include providing a new HVAC               improving sidewalks and lighting in the impacted areas.
          time. First the project team adjusted and refined the proposed Existing       system, doors, and windows to reduce the dust and noise impacts to
          Alignment Alternatives (called the Revised Viaduct Alternative in the         the school and its users, specifically during the roadway construction         For more information on walkability and bicycle route improvements,
          Supplemental Draft EIS and the Final EIS) after release of the 2008 Draft     period. CDOT also will pay for the construction of two new classrooms.         see Chapter 4, Transportation Impacts and Mitigation Measures, of the
          EIS and during the PACT process. It responded by moving 46th Avenue           Providing additional classrooms prior to highway construction will help        Final EIS.
          underneath the viaduct, thereby minimizing impacts to the surrounding

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      TRANS3. Will there be any changes to the intersection                         regional model. The sub-area is larger than the transportation impacts      essential for that process, and it is regularly validated through an FHWA
      at 47th Avenue and York Street, and will CDOT provide a                       area to ensure it includes reasonable route diversions that could occur.    Planning Certification Review which formalizes the on-going Federal
      pedestrian overpass in this location?                                         The sub-area for this project extends west of Wadsworth to east of          oversight and evaluation of the MPO planning process.
                                                                                    E-470 and extends south of Colfax Avenue to north of approximately
      Although the project team heard concerns regarding the 47th Avenue and        80th Avenue. This ensures that the model will take into account the         The fundamental assumptions/characteristics behind the travel demand
      York Street intersection through the outreach process, these streets are      effects of I-270, I-25, the I-25/I-70 interchange, and the local roadway    model include:
      not impacted by the highway project. Therefore, project improvements          network in the analysis. The model projects speeds, travel times, peak      #1: Growth of the region. DRCOG uses the best economists and the
      do not include any work at the 47th Avenue and York Street intersection.      volumes, VMT, and local street volumes for the alternatives. For more       State Demographer to estimate employment and population growth. This
      However, Denver has initiated an alternatives analysis for this area to       information, see Chapter 4, Transportation Impacts and Mitigation           is the source of the current socio-economic data set used in all DRCOG
      identify potential safety improvements.                                       Measures, of the Final EIS.                                                 models.

                                                                                                                                                                #2: Model acceptance. The model is accepted and certified by FHWA.
      TRANS4. Does CDOT plan to widen I-70 west of the                              TRANS6. Which travel model was used to forecast
      I-25/I-70 interchange, after I-70 East is widened?                            future traffic demand along the I-70 East corridor?                         #3: Network of roadways and transit. The network coded into the model
                                                                                                                                                                for the existing and future year conditions includes all projects contained
      CDOT has no current or future plans to widen I-70 west of the I-25/I-70       The 2035 Compass model developed by DRCOG was used to forecast              in the DRCOG approved Regional Transportation fiscally constrained
      interchange in Denver. Because of the long-term nature of transportation      future traffic demand along the I-70 East Corridor. During project          plan along with other roadway capacity projects to be completed by local
      planning and funding, CDOT identifies transportation projects decades         scoping, the project team identified the DRCOG regional transportation      governments.
      into the future (known as the 2035 long-range plan). This part of I-70        plan as the basis for future travel forecasts within the study area. This
      in Denver is not included in the long-range plan because traffic studies      decision has been confirmed throughout the project. This plan and its       #4: Behavioral data. Behavioral aspects of the model are derived from
      show that half of westbound traffic on I-70 East exits onto I-25. In fact,    associated travel demand model includes anticipated population and          an extensive travel survey conducted by DRCOG and last collected
      recent traffic projections show only a four percent growth in travel along    employment growth for every municipality within DRCOG, as well as           in 2010. These surveys collect large amounts of data and are essential
      the portion of I-70 west of the I-25/I-70 interchange during the next 30      fiscally constrained improvements. The model also accounts for planned      in helping the model relate people traits to travel choices. They are an
      years.                                                                        and programmed transit improvements in the region.                          infrequent and expensive undertaking and in the TDM community a
                                                                                                                                                                survey from 2010 is considered recent and credible.
                                                                                    Travel demand models such as Compass provide output in the form of
      TRANS5. How was traffic forecasting determined for                            vehicle demand or volume. They provide data for decision makers to          #5: The travel demand model is not static. The model is always
      the project?                                                                  evaluate impacts to air quality, noise, and traffic flow resulting from     changing as new land uses and roadway network elements become
                                                                                    transportation projects in metropolitan areas with intricate roadway        available. The model is updated frequently and calibrated to new traffic
      Forecasting for this project was done using the 2035 DRCOG                    networks and complex employment/population centers. The base models         counts and estimates of region-wide VMT. The underlying behavioral
      trip-based “Compass” travel demand model. Compass is a regional               are typically owned and maintained by the local metropolitan planning       assumptions may also change, as new tabulations of the Front Range
      model that uses projected land use data, including population and             organization, and in Denver that is DRCOG.                                  Travel Counts become available.
      employment growth, to project future traffic conditions. These
      projections were used to determine the number of lanes needed to              The model is regional in scope and encompasses the entire DRCOG             Model inputs include:
      accommodate future traffic growth. This model incorporates household          transportation planning area which includes the nine counties of Adams,
      and employment data for the region and accounts for programmed                Arapahoe, Boulder, Broomfield, Clear Creek, Denver, Douglas, Gilpin,           ▪▪ Socio-economic data (i.e. income, employment, etc.)
      roadway and transit projects, including the East Corridor commuter rail       Jefferson and the SW portion of Weld County. DRCOG is required
                                                                                                                                                                   ▪▪ Household and population data (i.e. number of individuals per
      line.                                                                         by law to model existing and future regional transportation systems
                                                                                                                                                                      household, either current or predicted future populations)
                                                                                    (roadways and transit), as opposed to individual projects, to meet the
      To further evaluate the traffic operations for the alternatives, the output   Federal Transportation Planning requirements. A travel demand model is         ▪▪ Existing and future roadway network data (i.e. volumes, speeds,
      from the DRCOG model was fed into a dynamic traffic assignment
                                                                                                                                                                      capacity, etc.)
      (DTA) model called “DynusT.” DynusT simulates traffic supply and
      demand interactions on the network in greater detail for a sub-area of the



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            ▪▪ Transit network information including buses and trains (i.e. RTD      agreed that the I-70 Final EIS can continue to use the volumes from the        TRANS9. How will the project impact truck traffic in
               FasTracks). DRCOG relies on RTD to code the transit portion of the    most recent Compass model, which the project is using to complete all          the adjacent neighborhoods?
               model.                                                                analyses.
                                                                                                                                                                    While existing truck travel within the Elyria and Swansea Neighborhood
          Highway and transit output data from the model are:                        It should be noted that, before FHWA selects a preferred alternative           is a concern of local residents, changes associated with the Build
                                                                                     in the ROD, the alternative will be included in the DRCOG’s fiscally           Alternatives should not significantly impact these streets. In addition,
            ▪▪ Vehicular volumes on roads (flows on links)                           constrained regional transportation plan and it will be modeled with           the Pilot Travel Center truck stop will be closed as a result of the Build
            ▪▪ Speeds on links                                                       the Focus model software to demonstrate conformity with final air              Alternatives that shift the highway northward, eliminating the truck
                                                                                     quality standards. See Attachment E, Traffic Technical Report for more         traffic associated with this business. Any potential changes to the
            ▪▪ Network travel times                                                  information.                                                                   designated truck routes and delivery routes will be coordinated with
                                                                                                                                                                    Denver to ensure impacts are minimized. This could be accomplished
            ▪▪ Origin/destination patterns - These are represented by zone-to-zone
                                                                                     TRANS8. Can CDOT restrict truck traffic on I-70                                by setting up specific truck routes, establishing a prohibition on some
               trip tables, which are usually segmented by travel mode.
                                                                                     through the Elyria and Swansea Neighborhood?                                   roadways, and/or instigating specific delivery times based on input from
            ▪▪ Mode splits                                                                                                                                          local citizen groups.
                                                                                     Part of the purpose of the Interstate system is to promote economic
            ▪▪ Emissions from cars and trucks                                        development, and trucking is a major economic driver for the nation’s          TRANS10. Where will the traffic on I-70 be diverted
                                                                                     economy. The areas adjacent to I-70 East are highly industrial and rely
            ▪▪ Transit boardings or Park N Ride loadings                                                                                                            during construction?
                                                                                     heavily on the need for trucks to move in and out of the area with ease.
                                                                                     If truck access to I-70 were restricted, they would be forced to use local     A traffic management plan will be prepared by the contractor and
          TRANS7. Why wasn’t the latest travel demand model                          streets to access the local businesses in the area, negatively impacting       reviewed by CDOT. CDOT will ensure that BMPs are used to minimize
          (DRCOG Focus model) used to project future demand?                         safety and mobility in the nearby neighborhoods.                               impacts during construction and provide safe and efficient connections
                                                                                                                                                                    through the neighborhoods during construction for all modes of
          At the time that the project team was working on the 2008 Draft EIS        Except in limited circumstances (e.g., adverse weather, construction
                                                                                                                                                                    transportation, including bicycles and pedestrians. CDOT will also
          and the Supplemental Draft EIS, the Focus model was not available          zones), per 23 CFR 658.11(d), the state of Colorado cannot deny
                                                                                                                                                                    ensure that BMPs are used to minimize impacts so that I-70 remains
          or adopted by DRCOG. The Focus model was adopted by DRCOG in               truck access nor place restrictions on the Interstate System without
                                                                                                                                                                    open and operational during construction.
          February 2015, well after the completion of the Supplemental Draft EIS     FHWA approval. The request needs to be based on safety concerns. It
          and even after the start of the Final EIS process. Federal requirements    requires an analysis of the impact to interstate commerce, and analysis
          mandate that NEPA studies use the current adopted regional travel          and recommendations of alternative routes. A rebuilt I-70 East would           TRANS11. Has the change in driving trends been
          demand model for analysis purposes, which was the DRCOG Compass            significantly improve safety along this stretch of interstate for trucks and   considered in developing the alternatives for this
          model until February 2015 Along with the implementation of the Focus       all other vehicles and surrounding neighborhoods.                              project?
          model, DRCOG began using a new land use model known as UrbanSim.
          UrbanSim was scheduled to be adopted at the same time as DRCOG’s           CDOT conducted a heavy vehicle traffic study in order to determine             Although recent studies have shown that people are driving less,
          Focus model. Due to the timing of the adoption of both models, CDOT        how many heavy vehicles travel between I-270 and I-76 in a continuous          the Denver metropolitan area will experience growth through 2035
          chose to continue using the DRCOG Compass model.                           journey. The through heavy vehicles represent less than three percent of       that more than outweighs this trend. It is CDOT’s responsibility to
                                                                                     the average, directional heavy vehicle traffic and less than one half of one   provide a transportation system that will accommodate this growth.
          The project team has done a comparative analysis between the volumes       percent of total directional traffic.                                          Before conducting the analysis, future (2035) transportation system
          from the Compass model being used in the Final EIS and the volumes
                                                                                     The collected data represents the total number of heavy vehicles that          characteristics were identified. All I-70 project alternatives assume
          that would have been generated by the newly adopted Focus model. This
                                                                                     would be eliminated from the I-70 corridor if an I-270/I-76 reroute were       implementation of the transportation improvements identified in the
          analysis found that the volumes from the Compass model are slightly
                                                                                     implemented. Due to the low numbers of heavy vehicles passing all the          DRCOG 2035 Metro Vision Regional Transportation Plan (MVRTP).
          higher than the Focus model volumes (typically, less than 5 percent
                                                                                     way through the corridor and the off-peak travel distribution of those         This includes both programmed projects (those budgeted in the five-year
          difference for I-70), which does not change the number of lanes needed                                                                                    Transportation Improvement Plan [TIP]) and planned projects (those
                                                                                     heavy vehicles, rerouting heavy vehicles to I-270/I-76 would not change
          for this project. FHWA has reviewed the comparative analysis and has
                                                                                     the number of lanes required for the I-70 project.                             not in the TIP, but included in the adopted DRCOG 2035 MVRTP).
                                                                                                                                                                    The more significant planned and programmed improvements to the


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      transportation system within the study area are shown in Chapter 4,           FUND2. Will ownership of the highway be transferred                             FUND5.        What is the project funding strategy?
      Transportation Impacts and Mitigation Measures of the Supplemental            to a private company through a public-private
      Draft EIS.                                                                                                                                                    The full construction of the Preferred Alternative would cost
                                                                                    partnership (P3) delivery method?                                               approximately $1.7 billion. Revenue sources for the I-70 East project
      In addition to planned roadway improvements, the analysis assumed             No. The public-private partnership being considered for I-70 East would         include allocations from various state and local sources, but there
      the implementation of major transit system improvements within the            involve a private partner in the design, construction, financing, operation,    remains a gap between the estimated cost of the project and the revenue
      Denver region as part of RTD’s FasTracks program. Of most significance        and long-term maintenance of I-70 East. However, CDOT maintains                 available to build it. This is one of the reasons that CDOT is pursuing
      in the study area is the East Corridor commuter rail project, which will      ownership of the highway at all times. Accountability to the public             a P3 delivery method. Because of these funding limitations, the project
      run from downtown Denver to Denver International Airport. The future          remains the same as it would for any other transportation project.              will be constructed in phases over time. Chapter 8, Phased Project
      traffic modeling accounted for these projects and their impact on travel                                                                                      Implementation, discusses the proposed phases. The estimated cost of
      demand.                                                                                                                                                       Phase 1 is $1.1 billion. To date, funding has been identified from the
                                                                                    FUND3.        How will the toll rates be set?                                   following sources for the I-70 East project:
      The higher transit ridership due to expansion in transit was considered in
      the analysis of the Final EIS. Even with expanded transit use, the analysis   Managed Lanes are proposed for I-70 East strictly as a traffic                     ▪▪ Bridge Enterprise Revenues ($850 million)
      shows an increase in ADT in the future, which requires additional lanes       management strategy, not to generate revenues or to use as part of a
      on the highway to accommodate the added traffic.                              public-private partnership. Toll rates will be established by the High             ▪▪ Denver Regional Council of Governments (DRCOG)/Surface
                                                                                    Performance Transportation Enterprise Board of Directors and will be set              Transportation Program-Metropolitan Areas (STP-Metro)/
      In addition, while some comments have pointed to national reductions          at a level necessary to maintain free-flow traffic conditions in these lanes.         Congestion Mitigation/Air Quality (CMAQ) funds ($50 million)
      in VMT following the recession of 2007-08, recent FHWA data has               Existing general-purpose lanes will not be tolled.
      shown that VMT has been increasing again during the last 18 months                                                                                               ▪▪ Senate Bill 09-228 funds ($180 million)
      and has reached pre-recession levels. For more information, see the
                                                                                    FUND4. Why isn’t CDOT using the toll revenue to fund                               ▪▪ Denver ($37 million)
      FHWA website: https://www.fhwa.dot.gov/policyinformation/travel_
      monitoring/15juntvt/15juntvt.pdf.                                             this project or other needed items in the surrounding                           Taxes would not be raised to pay for this project and CDOT is not
                                                                                    communities?                                                                    looking at managed lanes as a way to finance construction of the I-70
                                                                                                                                                                    East project.
                                                                                    Tolling analysis performed by CDOT shows that the tolling revenue
      Funding Strategies                                                            would not cover the cost of reconstructing the highway. State and               Bridge Enterprise was formed by CDOT in 2009 as part of the FASTER
                                                                                    federal law (C.R.S. 43-4-806 and Article 10, Section 18 of the State            (Funding Advancement for Surface Transportation and Economic
      FUND1. How will CDOT protect local interests by                               Constitution; 23 U.S.C. 129(3)) restrict the use of excess toll revenue.        Recovery) legislation to finance, repair, reconstruct, and replace
      limiting the investment of foreign companies in the I-70
                                                                                    State law requires that toll revenue be spent within the corridor where         structurally deficient bridges. It is funded from a bridge safety surcharge
                                                                                    the tolls are collected and on transportation-related improvements.             on vehicle registration based upon vehicle weight. Due to the concern
      East project?                                                                 Federal law limits the use of excess toll revenue to funding debt service,      of the funding impact of the I-70 viaduct replacement on long-term
      CDOT sets limits for private concessionaires prior to issuing contracts.      maintenance (reconstruction, resurfacing, and rehabilitation), and for          revenues available for rehabilitating other Colorado bridges, CDOT set
      The High Performance Transportation Enterprise analyzes the financial         other purposes for which federal funds can be spent under federal               out a goal to shape viaduct financing in a way that will retain 50 percent
      needs of a project, including a company’s expertise, not where the            transportation law. Within these restrictions, it has been the practice of      of bridge revenues for other needed projects across the state.
      headquarters are located. Countries around the world—particularly             High Performance Transportation Enterprise to seek community input on
      in Canada, Australia, and Spain—have advanced new approaches                  the use of any excess tolls (revenue beyond what is needed to maintain
      to transportation projects, so a great deal of expertise is located           the toll lanes).
      internationally. Regardless of where the money comes from, U.S.
      corporate taxes must be paid by any private company hired by HPTE.




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                                                           Comments                                                                                                           Comments
 Source:   Submittal                    Document Number:    754      Name:   Sierra Club - Bob Yuhnke             Source:   Submittal                      Document Number:    754       Name:   Sierra Club - Bob Yuhnke


                                                                                                                            Duration D EPA RegionState   County    City     CBSA      Address Site ID     POC          Exc Events Obs
                       Current Folder: SDEIS Comments Responded to                                                          24 HOUR            8 CO      Adams     Commerce Denver‐Aur7101 Birch 80010006            1 None       121/105/10
                                                                                                                            24 HOUR            8 CO      Adams     Commerce Denver‐Aur7101 Birch 80010006            2 None       62/50/73

                                                                                                                            24 HOUR            8 CO      Denver    Denver     Denver‐Aur2105 Broad 80310002          1 None      354/301/33
                                                                                                                            24 HOUR            8 CO      Denver    Denver     Denver‐Aur2105 Broad 80310002          2 None      67/50/62

                                                Welcome: contactus@i-70east.com
                                                                                                                            24‐HR BLK          8 CO      Denver    Denver     Denver‐Aur2105 Broad 80310002          3 None            270

                                                                                                                            24‐HR BLK          8 CO      Denver    Denver     Denver‐Aur2105 Broad 80310002          3 None            151
                       Re: I-70 East EIS - SDEIS COMMENTS                                                                   24 HOUR            8 CO      Denver    Denver     Denver‐Aur971 W. Yum80310027           1 None             75
                       From:   "Bob Yuhnke"                                                                                 24‐HR BLK          8 CO      Denver    Denver     Denver‐Aur971 W. Yum80310027           3 None            131
                       Date:   Fri, October 31, 2014 5:13 pm
                       To:     contactus@i-70east.com
                       Cc:     "English, Becky"

                                                                                                        The information on
                                                                                                         these pages has
                                                                                                          been reviewed.
                                                                                                           Responses to
                       Dear CDOT and FHWA,                                                              specific comments
                                                                                                        are included on the
                       Attached for your review and consideration are comments submitted on behalf       following pages.
                       of the Sierra Club, Rocky Mountain Chapter, and Joe Elliott, Swansea
                       resident.
                                                                                                                              First Max Second Ma Third Max Fourth Max98th %ile 2 3‐yr averagWeighted A3‐yr average annual means
                       Bob Yuhnke                                                                                             41.9/33.7/320/28.7/2619.5/25.4/218.3/19.3/2 20 / 25 / 2     23 7.6 / 8.6 / 8     8.1
                       303-499-0425
                                                                                                                              20.9/25.8/318.8/16.4/213.2/15.5/213.2/13.4/1 19 / 26 / 2    24 7.2 / 7.9 / 8     7.9

                                                                                                                                   28.5       27.2       22.7        21 19 / 19 / 2          19 7.5 / 8.0 / 7        7.7
                                                                                                                                   29.9       28.6       18.9       18.3 15 / 37 / 2         27 7.2 / 7.9 / 8        7.9




                                                                                                                                   36.4         36       30.2       30.2 28 (2013)                      8.8     NA

                                                                                                                                   44.3        39        37.5       28.5 29 (2014)                      9.3     NA
                                                                                                                                   48.3       34.9       29.9       25.1 35 (2014)                      9.3     NA
                                                                                                                                    57        44.3       35.3       30.3 35 (2014)                     10.7     NA




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I-70 East Final EIS                                                                                                                                                                                  Supplemental Draft EIS Comments and Responses
                                                             Comments                                                                                                            Responses to Comments
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                                                                                                                           754     1        2
                               THE SUPPLEMENTAL DRAFT EIS FOR PROPOSED EXPANSION OF I-70                                                           A   Section 5.20, Human Health Conditions, of the Final EIS contains an expanded discussion of
                              EAST MUST BE REVISED TO ADEQUATELY DISCLOSE IMPACTS OF                                                                   environmental health issues in the Globeville and Swansea and Elyria neighborhoods, including the
                                 AIR POLLUTANTS ON COMMUNITY HEALTH AND AIR QUALITY.                                                                   Health Impact Assessment conducted by DEH. It is important to consider that the neighborhoods in
                                                                                                                                                       question also experience disproportionate levels of poverty, non-highway pollution from stationary
                                                                     By                                                                                sources (including the Xcel Cherokee Power Station, the Suncor Refinery, the Purina pet food
                                                              Robert E. Yuhnke                                                                         facility, Metro Wastewater), and many other factors that have been identified by the DEH study. An
                                                                                                                                                       additional health impact assessment is not required by NEPA or the Clean Air Act, would be subject
                       Executive Summary.                                                                                                              to very large uncertainties, and would not assist the decision makers in evaluating the choice among
                                                                                                                                                       reasonable alternatives. As seen in the emissions inventories for NAAQS pollutants and MSATs,
                       The SUPPLEMENTAL DRAFT EIS (SDEIS) for the proposed expansion of I-70 EAST is
                       Not Adequate because the impacts of air pollutants emitted from the Project on the health                                       the difference between the alternatives (including the No-Action Alternative) in emissions is around
                       of near-by residents and on air quality are not investigated or disclosed, and alternatives                                     2-4 percent or less; see Attachment J Air Quality Technical Report. This difference is much smaller
                       and/or mitigation needed to enhance the health of nearby communities, and to prevent or                                         than the large ranges of uncertainties associated with the development of a health impact assessment.
                       avoid violations of national ambient air quality standards have not been identified.                                            Further, it is critical to consider that the emissions (and, therefore, likely concentrations) associated
                                                                                                                                                       with I-70 East are substantially declining. For example, diesel particulate matter emissions are
                       Health Impact Assessment Required.                                                                                              predicted to drop from 749 pounds per day in 2010 to 48 pounds per day (No Action) or 49 pounds
                       Evidence documented by Denver Environmental Health (DEH) showing disparate health                                               per day (Partial Cover Lowered Managed Lanes) in 2035. Benzene emissions are predicted to drop
                       outcomes for residents in the Globeville/Elyria/Swansea neighborhoods and the city council                                      from 133 pounds per day in 2010 to 26 pounds per day (No Action) or 27 pounds per day (Partial
                       districts where I-70 is located compared to other council districts in Denver, including a 50%                                  Cover Lowered Managed Lanes) in 2035. The other MSATs see similar reductions in emissions; see
                       higher incidence of mortality related to cardiovascular disease, 50,000 more years of life lost
                                                                                                                                                       Section 7.4 of Attachment J, Air Quality Technical Report. All of these emissions levels incorporate
                       annually, and 40% greater rate of hospitalization of children for asthma, demonstrate that these
       A               residents are disproportionately affected by the diseases of air pollution. The contribution that                               predicted increases in VMT in the corridor.
                       emissions from current vehicle travel on heavily trafficked highways such as I-70 make to these
                                                                                                                           754     1        3
                       adverse community health outcomes must be evaluated, disclosed to decisionmakers and the                                    B   The air quality analyses have been updated for the Final EIS, and the Preferred Alternative would not
                       public, and considered in the evaluation of alternatives to determine the extent to which                                       cause the violation of any NAAQS. The Final EIS (Section 5.10, Air Quality, and Attachment J, Air
                       community health can be enhanced by reducing, not increasing, exposure to traffic pollution in                                  Quality Technical Report) provides all air quality emissions and modeling that is required by law and
                       these neighborhoods.                                                                                                            useful to an informed decision among the alternatives. See also the response to comments W, X and Y.
                       Modeling of all Mobile Source-Related NAAQS Required.                                               754   1 and 2   4,1,2
                       Both emissions from an expected 30% increase in traffic traveling in the I-70 Project area, and                             C   The Final EIS considers all reasonable alternatives that meet the purpose and need for the I-70 East
                       emissions during construction of the project from heavy equipment, could cause violations of                                    Project. The 2008 Draft EIS, Supplemental Draft EIS, and Final EIS have considered the alternative
                       national ambient air quality standards (NAAQS) in the Project area. The Clean Air Act (CAA),                                    of diverting future traffic to the I-76/I-270 alignment and found that the alternative would not meet
                       Part C, requires that States adopt an implementation plan containing control measures to prevent                                the purpose and need; see the Appendix to Attachment C Alternatives Analysis Technical Report
                       violations of NAAQS in areas that currently attain the NAAQS. If violations of these air quality                                Addendum. Further, such an approach would be impractical because of its very large cost and
       B               standards occur, the CAA requires that the plan for the area be revised to reduce ambient                                       diversion of traffic to local streets. The alternative would also likely increase regional emissions
                       concentrations below the level of the NAAQS. 40 CFR §51.160. Violations trigger obligations to                                  of greenhouse gases, ozone precursors and other pollutants by increasing the number of miles that
                       develop and implement a control strategy to eliminate the NAAQS violations, and imposes
                                                                                                                                                       must be driven, as well as cause congestion and idling emissions in areas (including the Globeville
                       limitations on the permitting of new or modified sources. Preventing violations of the NAAQS
                       protects public health by avoiding pollutant concentrations known to be harmful, is cheaper than                                and Elyria and Swansea neighborhoods and schools) affected by diversion of traffic to local streets.
                       requiring emission reductions after violations occur, and is less burdensome on other emission                                  Potential impacts from the I-70 project, including effects of each alternative on the ability to meet
                       sources.                                                                                                                        the health-based NAAQS, and on levels of MSATs are discussed in detail in the Final EIS Section
                                                                                                                                                       5.10, Air Quality. In addition, CDOT has committed to providing measures to mitigate for dust during
                       Consideration of Alternatives and Mitigation Measures to Reduce Public Exposure to                                              construction; see AQ7 of the Frequently Received Comments and Responses on the Supplemental
                       Harmful Pollutants, and to Ensure Attainment of NAAQS Required.                                                                 Draft EIS, located in Part 1 of Attachment Q.
       C               The proposed Project is proposed to accommodate at least a 30% increase in traffic and related
                       increases in pollutant exposures in an area where traffic pollution is currently contributing to




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                       adverse health impacts in nearby communities. Not included in the analysis are reasonable             754   2   3
                       alternatives and mitigation measures that enhance the human environment by reducing public                          D   The Supplemental Draft EIS and Final EIS are fully compliant with the requirements of NEPA,
                       exposure to these harmful pollutants. At a minimum, the SDEIS must include an evaluation of                             the Clean Air Act, 23 U.S.C. Sec. 109(h) and other provisions, and have adequately addressed
                       measures such as, but not limited to, diverting future traffic to other interstate alignments (I-76                     environmental health issues and air quality impacts, which are considered in Section 5.20, Human
                       and I-270) where commercial and industrial uses are the predominant near-highway land use,                              Health Conditions, of the Final EIS and the Air Quality Technical Report. The Final EIS considers
       C               dense urban neighborhoods are not in close proximity to the highway, and schools are not                                the emissions of both NAAQS and MSAT pollutants for all of the alternatives during the period from
                       located next to the highway right-of-way. So long as the currently proposed cut-and-cover                               2010 to 2035, based on protocols and methodologies approved by EPA and CDPHE. As reported
                       alternative in the existing I-70 alignment remains the preferred alternative, another mitigation                        in the Final EIS Section 5.10, Air Quality, and Attachment J Air Quality Technical Report, total
                       measure that must be included is the buy-out of all nearby residents, and the re-location of school
                                                                                                                                               emissions of mobile source pollutants have been modeled and they are predicted to decline in the
                       buildings located within the zone of adverse health impacts adjacent to the Project alignment.
                                                                                                                                               corridor considerably between 2010 and 2035 for all alternatives, even accounting for increases in
                       This SDEIS is not adequate under the National Environmental Policy Act (NEPA), or under the                             VMT. No additional alternatives analysis or mitigation measures are required under NEPA or other
                       requirements of the Federal Aid Highway Act, 23 USC § 109(h), because the Draft Statement,                              federal requirements because the identified preferred alternative does not exceed the NAAQS.
                       along with the Air Quality Technical Report prepared as Attachment J for the I-70 East SDEIS,
                       fails to –                                                                                            754       4
                                                                                                                                               PM2.5 and NO2 were not modeled in the Supplemental Draft EIS because they are not pollutants of
                                                                                                                                   2
                                                                                                                                           E
       D                  1. investigate and disclose the impact that highway emissions are having on community
                                                                                                                                               concern in the Denver area. The area has never been in nonattainment status for either pollutant and is
                             health in the Project study area;                                                                                 not in imminent danger of becoming so based on current monitoring data. Furthermore, extrapolating
                          2. investigate and identify alternatives and/or mitigation measures that can enhance the                             the existing ratio of PM2.5 to PM10 to other scenarios in an effort to predict violations of the NAAQS
                             human environment by reducing community exposure to harmful air pollutants, and                                   is not scientifically valid, as particulate emissions in different size fractions come from multiple
                             avoid the adverse health effects that will result from increasing exposure to these                               different sources, not all of which vary at the same rate with changes between build alternatives or
                             pollutants that will result if traffic in the corridor is allowed to increase by 30%;                             traffic loads. See also responses to Comments W, X, and Y.
                          3. investigate and disclose likely violations of the NAAQS for PM2.5 and NO2 caused by
       E                     those pollutants emitted from vehicles traveling on the completed project and in the area       754   2   5
                             affected by the Project;                                                                                      F   Effects of PM10 emissions on the ambient air were analyzed using state-of-the-art modeling software,
                          4. use credible scientific methods to investigate and disclose likely violations of the                              in accordance with EPA regulations and guidelines, to determine whether or not specific alternatives
       F                                                                                                                                       would exceed the NAAQS. See also the responses to Comments W, X, and Y.
                             NAAQS for PM-10 caused by particulate matter (PM) emitted from or by vehicles
                             traveling on the completed project and in the area affected by the Project;
                          5. investigate and disclose likely violations of the NAAQS for PM-10, PM2.5 and NO2                754   2   6
                                                                                                                                           G
       G                                                                                                                                       Construction impacts are not required to be assessed if construction will not last more than 5 years
                             caused by those pollutants emitted from heavy equipment and traffic during construction
                                                                                                                                               in any individual site (40 CFR 93.123(c)(5)), and there is no evidence there will be any exceedances
                             of the Project;
                                                                                                                                               of the NAAQS during the construction period based on the air quality analysis for the Final EIS.
       H                  6. investigate and identify alternatives and/or mitigation measures that are necessary and
                             sufficient to prevent or avoid violations of the NAAQS for PM-10, PM2.5 and NO2;                                  Monitoring supported data available nationwide, and—specific to Colorado highway construction—
                          7. demonstrate compliance with the obligations imposed by the Federal-Aid Highway Act,                               confirms that BMPs for dust control and suppression deployed by CDOT and other DOTs have been
       G                     23 USC §109(h), to estimate the costs of mitigation, compare those costs with the                                 successful in keeping temporary construction dust from contributing to an exceedance or violation of
                             transportation benefits of the proposed Project, determine whether the Project is in the                          the public health PM10 NAAQS.
                             best overall public interest, and commit to implement any necessary mitigation; and
       J                  8. include a conformity determination for the Project as required by § 176(c) of the Clean
                             Air Act (CAA) and implementing regulations. 40 CFR §§ 93.116, 123.                              754       7
                                                                                                                                               Air quality impacts have been adequately addressed in the Final EIS. PM2.5 and NO2 were not
                                                                                                                                   2
                                                                                                                                           H
                       I. Impact on Health of Emissions from Vehicle Miles Traveled Not Assessed or Disclosed.                                 modeled in the Supplemental Draft EIS because they are not pollutants of concern in the Denver area.
       K                                                                                                                                       The area has never been in nonattainment status for either pollutant and is not in imminent danger of
                       Overall impacts of air pollutants emitted from the Project on community health are the primary                          becoming so based on current monitoring data.
                       concern of this comment. The adverse health outcomes among residents in the I-70 Project area
                       reported by Denver Environmental Health [DEH ] in the community health status report released                           Responses continue on the following page.
                       in September, 2014, demonstrate that these residents are currently experiencing serious adverse



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                       effects of current pollutant exposures, and that the impact of future increases in pollutant          754     2         8
                                                                                                                                                       I   The I-70 East Project complies with Federal Aid Highway Act, 23 USC §109(h). Motor vehicle
                       exposures must be fully disclosed in the EIS. See
                                                                                                                                                           emissions from the implementation of the No-Action Alternative and the Build Alternatives will
                       https://www.denvergov.org/Portals/746/documents/HIA/HIA%20Composite%20Report_9-18-
                       14.pdf. The higher pollutant exposures expected from increasing traffic by 30% in these                                             not cause or contribute to any new localized carbon monoxide or particulate matter violations, nor
                       neighborhoods will significantly further degrade the health status of these communities.                                            will they increase the frequency or severity of any existing violations based on the hotspot analysis.
       K               Sacrificing the health of children and increasing years of life lost to build a regional                                            Further, emissions of almost all pollutants will be considerably lower in 2035 for all alternatives,
                       transportation facility is not an acceptable public policy. To ensure open disclosure and                                           even with an increase in VMT. CDOT is committing to implement the road dust emissions control
                       consideration of the consequences that Project emissions will have on health, a health impact                                       measures included in the PM10 hotspot modeling, but no other specific mitigation measures are
                       assessment must be included in the current NEPA review because of the evidence provided by                                          necessary.
                       DEH showing that residents in these communities are now experiencing disparate health
                       outcomes compared to other communities in Denver.                                                     754     2         9
                                                                                                                                                       J   The conformity determination was not required in the draft stage of the document, and is being made
                       A. Health Impacts of Exposure to Traffic Pollution Not Assessed or Disclosed in SDEIS.                                              for the Final EIS, and a final conformity determination will be made in the ROD. See Section 5.1.2 of
                                                                                                                                                           Attachment J to the Final EIS, Air Quality Technical Report, and Section 5.10.6 of the Final EIS for
                       The SDEIS contains no discussion of the current health status of these communities, and no                                          the conformity determination.
                       investigation of the likely impact that increased vehicle emissions will have on community
                       health. The impacts that Project emissions will have on air quality in the affected communities
                                                                                                                             754   2 and 3    10
                       are only partially addressed. The SDEIS includes modeling to estimate future concentrations in                        and 1     K   The emissions modeling for this project shows that emissions of all health-related pollutants will
                       the ambient air for only two transportation-related pollutants: PM-10 and carbon monoxide. The                                      decline considerably between 2010 and 2035 under all alternatives, with the sole exception of road
                       other two criteria pollutants emitted from highways that EPA has identified as having the                                           dust. See Section 5.20, Human Health Conditions, of the Final EIS regarding environmental health
                       greatest impact on health, and has recently required be monitored adjacent to highways, PM2.5                                       in the identified neighborhoods, Attachment J Air Quality Technical Report, and the response to
                       and NO2, are not evaluated for impact on future air quality. A shorthand method for using the
       L                                                                                                                                                   Comment A.
                       modeled concentrations of PM-10 to estimate future PM2.5 concentrations indicates that Project
                       emissions will worsen health status in the communities by nearly doubling current background
                       concentrations, and violating the NAAQS for PM2.5.                                                                                  It is important to consider that the DEH study points out that the neighborhoods in question also
                                                                                                                                                           experience disproportionate levels of poverty, non-highway pollution from stationary sources, and
                       In addition to determining the impact of Project emissions on the attainment of all the mobile                                      many other factors that contribute to the health status of the communities. A health impact assessment
                       source-related NAAQS, the SDEIS must include an assessment of the health impacts on the                                             is not required by NEPA or the Clean Air Act, would be subject to very large uncertainties, and would
                       community that will result from the full mix of criteria and toxic air pollutants emitted from                                      not assist the decision makers in evaluating the choice among reasonable alternatives. For information
                       motor vehicles. Residents do not just breath one pollutant at a time, and the adequacy of national
                                                                                                                                                           on impacts of the highway air pollution on human health, please see AQ2 and AQ4 of the Frequently
                       air quality standards to protect health do not account for the cumulative and synergistic effects
                       on human health that result from exposure to the full array of criteria and toxic air pollutants                                    Received Comments and Responses on the Supplemental Draft EIS, located in Part 1 of Attachment
                       emitted from highways.                                                                                                              Q.

                              1. Adverse Health Outcomes Are Occurring Disproportionately in Communities                     754     3       2 and 3
                                                                                                                                                       L   The current health status of the communities is adequately discussed in Section 5.20, Human Health
                              Affected by I-70 Pollution.                                                                                                  Conditions, of the Final EIS regarding environmental health issues in the Globeville, Swansea and
                       The final DEH report identifies four metrics of health as demonstrating a significant disparity
                                                                                                                                                           Elyria neighborhoods. See the response to Comment X for discussion of NO2 and PM2.5 as well as
       M               between community health in the four city council districts where I-70 is located, and especially                                   AQ2 of the Frequently Received Comments and Responses on the Supplemental Draft EIS, located
                       Globeville/Elyria/Swansea (GES) neighborhoods, and other parts of Denver: 1) mortality caused                                       in Part 1 of Attachment Q. With regard to the suggestion to model all air pollutants simultaneously in
                       by cardiovascular disease, 2) hospitalization of children for asthma, 3) cancer, and 4) obesity. In                                 a health impact assessment, see the response to comment A and Attachment J Air Quality Technical
                       addition, the draft DEH report identified years of life lost as another important metric of                                         Report.
                       community health which was significantly worse in the GES neighborhoods compared to the city
                       as a whole.                                                                                                                         For information on air quality in the project area, please see AQ3 and AQ4 of the Frequently
       N                                                                                                                                                   Received Comments and Responses on the Supplemental Draft EIS, located in Part 1 of Attachment
                              i) Disproportionately High Cardiovascular Mortality.
                                                                                                                                                           Q.

                                                                                                                             754     3         4
                                                                                                                                                       M   Comment noted.
                                                                       3

                                                                                                                                                           Responses continue on the following page.



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                       The data reported by DEH , HIA, Fig. 6, show that residents in the four city council districts         754   3 and 4   5,1,2,3
                       where I-70 is located.(1, 8, 9, and 11) have the highest cardiovascular mortality rates. Residents                               N   These conclusions regarding the causality of cardiovascular impacts by I-70 were not reached by the
                       in city council Districts 1 and 9 experience 30% greater cardiovascular mortality than dist 2 (213                                   DEH study or any other studies. Further, because the differences between the project alternatives in
                       vs. 155). In districts 8 and 11, respectively, cardiovascular mortality is 77% higher than dist 2                                    emissions are minimal, the choice among alternatives would not significantly affect cardiovascular
                       (275 vs. 155), and 74% higher (270 vs. 155). On average, cardiovascular mortality in these four                                      health in the corridor. The DEH study also identifies other potential causal factors for cardiovascular
                       council districts along I-70 is roughly 50% greater than other parts of the city. These are                                          health impacts, including diet, obesity, and smoking.
                       remarkably huge differences in cardiovascular mortality, the largest single cause of death in
                       Denver and the U.S.
                                                                                                                                                            For information on Health Impact Assessments, please see AQ1 of the Frequently Received
                       Increased community exposure to Project emissions will occur primarily in Districts 9 and 8.                                         Comments and Responses on the Supplemental Draft EIS, located in Part 1 of Attachment Q. See also
                       District 9 includes the GES and other neighborhoods along the east side of I-25 from the Auraria                                     Section 5.20, Human Health Conditions, of the Final EIS regarding environmental health issues in the
                       campus to the Commerce City line, including the neighborhoods along I-70 east of the                                                 corridor neighborhoods, Attachment J Air Quality Technical Report regarding highway-related health
                       mousetrap. The mortality rate in council district 9 is identical to the rate in council district 1                                   impacts analysis, and the response to Comment A regarding the decreasing emissions associated with
                       (213/ 100,000). District 1 includes the neighborhoods on the west side of I-25 from the Auraria                                      the I-70 corridor and the minor differences among alternatives.
                       campus north to the city line, including the neighborhoods along I-70 west of the mousetrap.
       N               Together, these two districts have significantly higher cardiovascular mortality rates than all        754             4,1,2
                                                                                                                                                            The fact that DEH determined not to retain years of life in its final study suggests that its use could
                                                                                                                                    4 and 5

                       other council districts except 8 and 11. In addition to emissions from I-70, residents in Dists 1                                O
                       and 9 are exposed to emissions from I-25, residents in Dist 8 are most exposed to the additional                                     not be supported with the evidence and methods available. Based on the lack of causality in the
                       pollution burden coming from the refineries, and district 11 is most exposed to emissions from                                       DEH study, it is not clear how calculation of years of life lost would be necessary or appropriate.
                       the I-225 interchange, Pena Blvd and airport operations. A recent study at LAX indicates that                                        Because the differences between the project alternatives in emissions are minimal (and decreasing
                       residents along the path of aircraft take-offs and landings are exposed to aircraft emissions that                                   considerably for all alternatives for most pollutants), the choice among alternatives would not
                       are roughly comparable to the emissions from highways in these neighborhoods. It makes sense                                         significantly affect years of life in the corridor.
                       that all 4 of these council districts show greater rates of the diseases of air pollution, including
                       cardiovascular disease, when compared to other council districts not exposed to emissions from
                                                                                                                                                            For more information on Health Impact Assessments, please see AQ1 of the Frequently Received
                       major highways and other high emitting sources.
                                                                                                                                                            Comments and Responses on the Supplemental Draft EIS, located in Part 1 of Attachment Q. See
                       These data point an incriminating finger at air pollution from the high traffic volumes on                                           Section 5.20, Human Health Conditions, of the Final EIS regarding environmental health issues in
                       interstate highways because all the council districts with higher pollution levels from both                                         the corridor neighborhoods and Attachment J Air Quality Technical Report regarding highway-related
                       interstates and major stationary sources have elevated cardiovascular mortality rates. If higher                                     health impacts analysis.
                       mortality were observed only in one district, then air pollution could not account for the disparity
                       between that district and both cleaner districts and districts with high pollution levels.

                               ii) Disproportionately Higher Years of Life Lost.
                       These massively greater mortality rates from cardiovascular disease obviously contribute to
                       increased years-of-life-lost. Missing from the final DEH report, but no less relevant to the need
                       for a NEPA analysis of health risks, is the discussion of years-of-potential-life-lost (YPLL) that
                       was included in the draft HIA, at p. 9 (published for comment in April). The draft described this
                       metric as commonly "used as an indicator of health equity. Generally, this is a measure of
       O               premature death before the age of 75 compared across a population or geographic area. The
                       assumption is that a higher number indicates inequitable social or physical determinants of
                       health. Data from Denver Health indicate that ‘years of potential life lost’ is higher in Globeville
                       and Elyria Swansea than in Denver overall."

                       The draft reported that years-of-life-lost, averaged across the community, is 3.5 years greater for
                       the residents of GES neighborhoods compared to other Denver residents. This means residents of
                       these neighborhoods are losing 50,000 years of life annually compared to other Denver



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                                                                                                                              754     5       3 and 4
                       neighborhoods. Deletion of this metric in the final HIA is not explained anywhere. Purging this                                  P   It is important to consider that the DEH study points out that the neighborhoods in question also
                       critical metric of community health from the report makes the report less valuable to residents                                      experience disproportionate levels of poverty, non-highway pollution from stationary sources, and
                       and decisionmakers because of its importance as a measure for comparing community health                                             many other factors that contribute to the health status of the communities. For information on impacts
                       among neighborhoods.                                                                                                                 of the highway air pollution on human health, please see AQ4 of the Frequently Received Comments
                       .                                                                                                                                    and Responses on the Supplemental Draft EIS, located in Part 1 of Attachment Q. See also Section
                       The fact that this key metric was deleted without explanation is highly suspicious. Without any
                                                                                                                                                            5.20, Human Health Conditions, of the Final EIS regarding environmental health issues in the
                       explanation, the motive for removing this important metric must be questioned especially since
       O               DEH stated before the release of the final report that there would be no changes in the data                                         corridor neighborhoods, Attachment J Air Quality Technical Report regarding highway-related health
                       included in the final compared to the draft. The lack of any explanation suggests an intent to                                       impacts analysis, and the response to Comment A regarding the decreasing emissions associated with
                       deprive the public of important information, and effectively deceives the public regarding the                                       the I-70 corridor and the minor differences among alternatives.
                       significance of disparate health effects in these neighborhoods. This omission from the final
                       DEH report further highlights the need for these disparate health outcomes to be explored in an        754   5 and 6   5 and 1
                                                                                                                                                        Q   The DEH study does identify a greater incidence of asthma in the Globeville and Swansea and Elyria
                       EIS.
                                                                                                                                                            neighborhoods, along with a number of possible causes, including air pollution from traffic, industrial
                               iii) Disproportionately Higher Hospitalization of Children for Asthma.                                                       stationary sources, rail and other sources. As discussed elsewhere, air emissions associated with I-70
                       The other adverse health outcome for which the disparity between the GES neighborhoods and                                           will decline between now and 2035 under all alternatives for most pollutants and the differences in
                       other areas of the City is quantified is hospitalization for childhood asthma. The final DEH                                         the emissions of air pollutants among the alternatives are minor.
                       report, Fig. 7, shows 40% greater incidence (38.6 vs. 28.5 admissions/1,000) of hospitalization of
                       children in Elyria/Swansea, and 20% higher in Globeville than the rest of the city. The additional                                   For more information on human health, please see AQ4 of the Frequently Received Comments and
                       emissions from the train traffic on the main line running between Elyria and Swansea is a                                            Responses on the Supplemental Draft EIS, located in Part 1 of Attachment Q.
                       plausible explanation for the higher incidence in these neighborhoods. Certainly 40%, and even
                       20% more children hospitalized for asthma is a significant adverse health outcome for a
                       community that also suffers from other adverse social and economic factors.
       P
                       The facts that 1) the GES neighborhoods have 3.5 years shorter longevity, or 50,000 years of life
                       lost, compared to other neighborhoods in Denver (which was shown by the YPLL data presented
                       in the draft report, but purged from the final), 2) the residents in the districts along the I-70
                       corridor experienced 50% higher cardiovascular mortality than other parts of the city, and 3) that
                       significantly more children in GES neighborhoods require hospital care for asthma strongly
                       suggests that these adverse health outcomes are linked to air pollution. There is enough
                       variability in socio-economic factors across the four council districts that comprise north Denver
                       that socio-economic factors alone cannot account for higher cardiovascular mortality rates in all
                       four I-70 districts. Some other extrinsic factor, such as air pollution, must be a causative factor.

                              2. The Disparate Adverse Health Outcomes Observed in Communities Along the I-
                              70 Corridor Are Causally Related to Exposure to Traffic Pollutants.

                       The DEH report does not offer any explanation for these disparate health outcomes other than air
                       pollution. Air pollution is the only environmental factor identified in the report that is causally
                       related to these diseases. Air pollution offers the only reasonable explanation for the elevated
       Q               incidence in the GES neighborhoods of the four health outcomes identified by DEH as being
                       significantly worse than other areas of Denver. Increased mortality associated with
                       cardiovascular disease is one of the most significant adverse health outcomes identified by EPA
                       as associated with exposure to PM2.5. The correlation between the observed health outcome
                       among residents in the four I-70 districts and the health outcomes predicted by the health effects
                       data reviewed by EPA is strong. Air pollution is also the only well-documented explanation for



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                         the higher incidence of hospitalization for asthma among children. Air pollution also includes
                                                                                                                               754
                                                                                                                                                   The DEH study identified disparate health outcomes and identifies possible causes for these
                                                                                                                                     6 and 7
                         indoor air pollution from smoking and other sources in the home, so not all of it comes from                          R
                         highways. But the health effects research reviewed by EPA includes studies showing the                                    outcomes. It does not definitively establish any of the causal relationships and indicates that further
         Q
                         prevalence of childhood asthma is linked to increased exposure to air pollution from major traffic                        study will be necessary and conducted to do so. DEH identified a number of potential causal factors,
                         corridors. The HIA provides no evidence to show that smoking in the home differs enough                                   including obesity, lack of medical access, lack of activity, lower income, exposure to hazardous
                         between council districts to explain the significantly greater hospitalization of children for                            substances, etc. Air emissions were identified as a potential cause, too, including emissions from
                         asthma.
                                                                                                                                                   highways, railroads, refineries, power plants and other industrial facilities, including spikes in
                                 i) DEH Report Only Identifies Air Pollution As Causally Linked to Disparate                                       pollution occurring during upset conditions at stationary sources.
                                 Health Outcomes.
                                                                                                                                                   According to the DEH study: “Within the Denver metro area, the highest concentrations of air
                         The DEH report does not offer any other explanation for these disparate health outcomes. Along                            pollution are near the downtown area [several miles south of Globeville and Elyria Swansea]. Vehicle
                         with air pollution, the DEH report lists possible environmental factors contributing to adverse                           emissions are highest along I-25 near downtown, as is the traffic density within a one-mile radius
                         health outcomes -- noise from trains, traffic and industry, elevated summertime e-coli in the S.                          of downtown Denver.” While there are high levels of emissions along I-70 (and other transportation
                         Platte, and soil contamination. See HIA, Environmental Quality, p. 19. But the report notes that                          corridors), they are not the highest in the metropolitan area or state. According to the DEH study:
                         soil contaminants have been removed from the community as part of the CERCLA clean-up of
                                                                                                                                                   “The average annual level of air pollution in Globeville and Elyria Swansea is not higher than other
                         the areas around the former smelters. The HIA offers no plausible explanation for how these
                         remaining environmental factors other than air pollution are linked to the adverse health                                 areas of metro Denver, for the air pollutants routinely measured. But North Denver neighborhoods
                         outcomes that demonstrate worsened health for residents in the GES neighborhoods compared to                              are located closer to major sources of air pollution (e.g., refinery, power plant, asphalt roofing
                         other parts of Denver. EPA's analysis of the effects of air pollutants on health in the Integrated                        manufacturer), and occasional spikes are noticeable and measurable.” The DEH also noted that
                         Science Assessments for PM and NO2 provides a scientific basis for linking PM to all of these                             concentrations of some pollutants are higher immediately adjacent to roadways like I-70, but fall off
                         adverse health outcomes, and NO2 to some of them. But none of the other environmental risk                                with distance. The monitored particulate matter concentrations in Commerce City are well below the
                         factors identified in the DEH report have any apparent causal relationship to these adverse health                        applicable NAAQS.
                         outcomes. For example, noise has never been identified as a cause of childhood asthma, and e-
                         coli in the river is not linked to pre-mature mortality from cardiovascular disease. The only
                                                                                                                                                   For more information on human health, please see AQ4 of the Frequently Received Comments and
                         environmental factor listed in the report that is known to be associated with these diseases is air
                         pollution.                                                                                                                Responses on the Supplemental Draft EIS, located in Part 1 of Attachment Q.
         R
                         Of the sources of air pollution in these neighborhoods, the HIA states: "Vehicle exhaust is the
                         main source of air pollution in Denver." "The [GES] neighborhoods are close to sources of air
                         pollution from vehicles on I-70 and I-25, which carry approximately 150,000 and 250,000
                         vehicles per day respectively, and are the main sources of air pollution. Stationary sources such
                         as industrial plants also impact air quality." HIA, pp. 20, 19. The report claims that the highest
                         traffic density in the city is downtown, but CDOT traffic measurements show that the highest
                         traffic density in the metro area is actually at the mousetrap, in the center of Globeville and
                         upwind of Elyria and Swansea where 326,000 vehicles pass through daily.

                         The communities near the mousetrap are exposed to the highest pollutant levels in Colorado. At
                         the mousetrap the total daily trips passing through the interchange are 326,000, more than 30
                         percent more traffic than any other location in the state. Traffic counts reported by CDOT for
                         2012 show AADT at the mousetrap as (truck share shown in parenthesis)1

                         I-25 south of interchange: 243,000 (9.1%)
                         I-25 north of interchange: 198,000 (10.9%)
                         1
                           Colorado Department of Transportation, Traffic Data Explorer, 2013. Available online at:
                         http://dtdapps.coloradodot.info/Otis/TrafficData (last accessed October 30, 2013).


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                       I-70 west of interchange: 150,000 (9.1%)                                                                      754
                                                                                                                                                       EPA has found a variety of causal relationships between PM2.5, PM-10 and NO2 and health effects
                                                                                                                                           7,8,9

                       I-70 east of interchange: 140,000 (9.3%)                                                                                    S
                                                                                                                                                       through its science-based NAAQS process. The Clean Air Act Section 109(b) creates a legal duty for
                       Especially important is the fact that the share of AADT represented by truck trips at the                                       EPA to set the NAAQS at levels necessary to protect public health, including an adequate margin of
                       mousetrap is much higher than at other locations along I-25. CDOT’s data show                                                   safety. Based on this duty, EPA has set NAAQS for PM2.5, PM10, NO2, and other pollutants that
                       that approximately 40 percent more truck trips use the I-25 segments north and south of                                         meet this requirement to adequately protect public health. EPA set new NAAQS for both PM2.5,
                       the mousetrap than on I-25 south of downtown at 8th Avenue. Together, the higher AADT and                                       PM10 and NO2 since the 2009 EPA sources cited in the comment; the agency set NAAQS thresholds
                       the greater number of truck trips show that the mousetrap is the location in the Denver CBSA
                       where mobile source emissions are the highest.
                                                                                                                                                       for the pollutants (as reflected in the Supplemental Draft EIS and Final EIS) that represent the levels
                                                                                                                                                       necessary for public health. EPA did not set “no threshold” or “zero pollutant” standards. Further,
                       In addition, regional air quality monitor data received by EPA from the CDPHE, Air Pollution                                    EPA’s NAAQS process considers evidence of co-pollutants and mixtures of pollutants in the NAAQS
       R               Control Division, and reported on EPA’s Air Data website, demonstrate that cumulative effect of                                 setting process. Thus, findings of compliance with the NAAQS are critical information for decision
                       traffic emissions combined with industrial pollution is greatest along the interstates. Monitored                               makers.
                       levels of total particulate matter pollution from all sources in the metro area are highest at the
                       Birch Street monitoring station in Commerce City, located about 2 miles north of Denver city                                    The PM10 & CO hotspot analyses that were performed for the Final EIS (see Section 5.10 Air Quality
                       line, and 1.25 miles east of the I-76/I-270 interchange. In the SDEIS, CDOT determined that the                                 and Attachment J, Air Quality Technical Report for details) predict no violation of these EPA health
                       pollution levels reported at this monitor are representative of background levels to which I-70
                       will add emissions from the highway.
                                                                                                                                                       based standards. As discussed elsewhere, air emissions associated with I-70 will decline between
                                                                                                                                                       now and 2035 under all alternatives for most pollutants and the differences in the emissions of air
                       Thus when total pollution burden (highway emissions plus existing background) is considered,                                    pollutants among the alternatives are minor.
                       the neighborhoods along I-70 experience the highest pollution concentrations in the metro area.
                       Therefore it is consistent with the air quality data for the most adverse health outcomes to be                                 For more information on human health, please see AQ4 of the Frequently Received Comments and
                       observed in the four council districts where I-70 is located.                                                                   Responses on the Supplemental Draft EIS, located in Part 1 of Attachment Q.
                                 ii) EPA Finds Causal Relationship Between Exposure to Traffic Pollutants,
                                 Cardiovascular Disease, Pre-Mature Mortality, Asthma and other Adverse Health
                                 Outcomes Observed in the I-70 Corridor.

                       The U.S. Environmental Protection Agency (EPA) has now identified four criteria pollutants
                       emitted from highways as presenting significant health risks that must be prevented through
                       attainment of the NAAQS near highways: carbon monoxide (CO), PM-10, PM2.5, and nitrogen
                       oxides (NO2).2 This public health concern is reflected in requirements that states must now
                       establish roadside monitors for PM2.5 and NO2 in addition to the long-standing requirement to
       S               monitor CO.3 In addition to these four mobile source-related criteria pollutants, EPA has
                       identified 92 mobile source air toxic (MSAT) pollutants. MSATs are governed by technology-
                       based standards that must be met in emissions from tailpipes, but are not governed by ambient
                       air standards that limit the concentrations of pollutants to which the public may be exposed.
                       None of these standards take into account the interactions among these pollutants in the ambient
                       air, or their cumulative impact on human health.

                       Together, these pollutants create a hazardous pall of pollution in the neighborhoods around
                       highways that has been shown to contribute to cardiovascular and respiratory diseases among
                       children, adults and the elderly that 1) increases the need for hospital and urgent care, 2) causes

                       2
                           40 CFR Part 50.
                       3
                         40 CFR Part 58; 77 Fed. Reg. at 39009 (June 29, 2012); 78 Fed. Reg. at 16,184 (March 14, 2013), Revisions
                       to Ambient Nitrogen Dioxide Monitoring Requirements, Final Rule.


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                         pre-mature death that significantly shortens the lives of residents, 3) increases the prevalence of
                         asthma among children which interferes with school attendance and education, and requires
                         medical treatment and hospitalization, 4) interferes with normal lung development in children
                         and adolescents that results in permanent, lifetime impairment of lung function, 5) increases the
                         incidence of debilitating or fatal cancers, and 6) impairs immune function.

                         In its recent reviews of the adequacy of the NAAQS for PM2.5 and NO2, EPA has identified
                         causal relationships between exposure to these pollutants and many of the adverse health
                         outcomes associated with exposure to highway pollutants. In its review of the health effects
                         literature available through 2009 as part of the Agency’s determination to make the NAAQS for
                         PM2.5 more protective, EPA found [bold in original] 4 –
                               “a causal relationship exists between short-term exposures to PM2.5 and mortality.”
                                “a causal relationship exists between long-term exposures to PM2.5 and mortality.”
                                “a causal relationship exists between short-term exposures to PM2.5 and cardiovascular
                                 effects.”
                                “a causal relationship exists between long-term exposures to PM2.5 and cardiovascular
                                 effects.”
                                                                                                                                                The information on
                         Although EPA did not attribute these effects exclusively to fine particles emitted from motor
                                                                                                                                                 these pages has
         S               vehicles, EPA did cite studies that establish a causal relationship between exposure to traffic PM,
                         or one or more components of traffic PM emissions, and pre-mature mortality and emergency                                been reviewed.
                         treatment for cardiovascular outcomes. For example, “multiple outcomes have been linked to a PM2.5                        Responses to
                         crustal/soil/road dust source, including cardiovascular mortality”; “studies have reported associations                specific comments
                         between other sources (i.e., traffic and wood smoke/vegetative burning) and cardiovascular outcomes                      are included on
                         (i.e., mortality and ED visits)”; “Studies that only examined the effects of individual PM2.5 constituents             the previous page.
                         found evidence for an association between EC and cardiovascular hospital admissions and cardiovascular
                         mortality”;5 “studies found an association between mortality and the PM2.5 sources: …, traffic”; “recent
                         studies have suggested that PM (both PM2.5 and PM10-2.5) from .. road dust sources or PM tracers linked to
                         these sources are associated with cardiovascular effects.”6

                         In addition, EPA cited studies demonstrating a causal relationship between exposure to PM2.5
                         and childhood asthma: “road dust and traffic sources of PM have been found to be associated with
                         increased respiratory symptoms in asthmatic children and decreased PEF in asthmatic adults.”7

                         EPA also found a causal relationship between exposure to NO2 and childhood hospitalization for asthma:
                         “Epidemiologic evidence exists for positive associations of short-term ambient NO2 concentrations
                         below the current [1983] NAAQS level with increased numbers of ED visits and hospital
                         admissions for respiratory causes, especially asthma. These associations are particularly consistent
                         among children and older adults (65+ years) when all respiratory outcomes are analyzed together, and
                         among children and subjects of all ages for asthma admissions.”8


                         4
                           Integrated Science Assessment for Particulate Matter (US EPA, December 2009), pp. 2-10, 2-11, 2-12.[hereinafter
                         ISA for PM] available at: http://cfpub.epa.gov/ncea/isa/recordisplay.cfm?deid=216546.
                         5
                           Note that “EC” is short-hand for “elemental carbon” which is primarily unburned carbon from fossil fuel
                         combustion, and is a significant component of fine particles emitted from diesel and gasoline engines.
                         6
                           ISA for PM, p. 2-26.
                         7
                           Id.
                         8
                           Integrated Science Assessment for Oxides of Nitrogen – Health Criteria (US EPA, July 2008), p. 5-11. available at:
                         http://cfpub.epa.gov/ncea/cfm/recordisplay.cfm?deid=194645.


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                                                                                                                                 754   9

                       More recent studies not available for EPA’s 2008 ISA for Oxides of Nitrogen, or 2009 ISA for PM,                    T   As previously discussed in the responses to comments A, K and S, EPA has set NAAQS thresholds
                       confirm and strengthen these associations. All of the relevant research currently available that                        for pollutants including PM2.5, PM10 and NO2 (as reflected in the Supplemental Draft EIS and Final
                       establishes the relationship between exposure to traffic pollution and the adverse health                               EIS) that represent the levels necessary for public health. By showing that the project is in compliance
                       outcomes occurring in residents living along the I-70 corridor, including cardiovascular disease,                       with the NAAQS, the EIS provides critical information for the decision makers. In addition, the lack
       S               pre-mature mortality, childhood asthma and cancer, should be included in an assessment of the                           of significant differences between alternatives, along with the substantially decreasing emissions of
                       relationship between adverse health outcomes observed in the I-70 Project area and traffic                              almost all pollutants show that there are no significant impacts associated with the choice among
                       pollution.
                                                                                                                                               alternatives and that total air pollution emissions associated with I-70 East will be declining over
                                  iii) EPA Finds No Threshold for Safe Exposure to Highway Pollutants.                                         time. The monitoring station that provides the background concentrations changed for the Final
                                                                                                                                               EIS, and was decided in coordination and agreement with CDOT, FHWA, CDPHE, and EPA; see
                       In addition to EPA’s findings that there is a causal relationship between the mobile source-                            Attachment J, Air Quality Technical Report for details.
                       related pollutants emitted from highways and the disparate health outcomes reported by DEH in
                       the communities along I-70, EPA also found that there is no safe level of exposure to these                             For information on transportation-related pollutants, including PM2.5, NO2, CO, and PM10, and air
                       pollutants. In the ISA for PM, at p. 2-25, EPA concluded that “evidence from the studies evaluated                      quality in the area please see AQ2 and AQ3 of the Frequently Received Comments and Responses on
                       supports the use of a no-threshold, log-linear model.” EPA reached a similar conclusion with respect to
                       NO2: ” In studies that have examined concentration-response relationships between NO2 and health                        the Supplemental Draft EIS, located in Part 1 of Attachment Q.
                       outcomes, the concentration-response relationship appears linear within the observed range of data,
                       including at levels below the current standard. There is little evidence of any effect threshold.”9
                       [Emphasis in original.]                                                                                   754   9
       T                                                                                                                                   U   A review of the environmental health issues in the corridor neighborhoods is included in Section 5.20,
                       The most critical implication of these findings for purposes of assessing health impacts under NEPA is                  Human Health Conditions, of the Final EIS, and a comprehensive health impact assessment is not
                       that evidence showing that concentrations of PM2.5 and NO2 are below the NAAQS for these pollutants                     required by NEPA or the Clean Air Act. The Air Quality protocols that determined which pollutants
                       cannot be relied upon to support a conclusion that exposure to existing concentrations of each of these                 and the methodology used to analyze the air quality impacts of the project were developed through
                       pollutants is not contributing to the adverse health outcomes being observed in the near-highway
                       communities along I-70.                                                                                                 interagency coordination between CDOT, FHWA, CDPHE, and EPA. All agreed that PM2.5 and
                                                                                                                                               NO2 did not need to be modeled for roadside concentrations in the Final EIS because they are not
                       However, no determination of pollutant exposures for near-highway communities can be made from                          pollutants of concern in the Denver area or the project area, at the present time or in the foreseeable
                       information provided in the SDEIS because only background concentrations for PM-10 and CO are                           future. The results of the air quality analysis show that the No-Action and the Build Alternatives will
                       provided from a monitoring station outside the Project area, and no near-highway measurements are
                       provided for any of the four mobile source-related criteria pollutants.
                                                                                                                                               not result in exceedances of the NAAQS, which have been set by the EPA to protect human health.
                                                                                                                                               For information on transportation-related pollutants, including PM2.5, NO2, CO, and PM10, please
                                  3. Existing Adverse Health Outcomes in I-70 Project Area, and Likely Increase                                see AQ2 of the Frequently Received Comments and Responses on the Supplemental Draft EIS,
                                  Adverse Health Outcomes from Higher Project Emissions, Not Adequately                                        located in Part 1 of Attachment Q. See also responses to comments V, W, and X.
                                  Disclosed by Modeling for Attainment of PM-10 and CO NAAQS.
                                                                                                                                               For information on air quality in the project area, please AQ3 of the Frequently Received Comments
                       The SDEIS air quality analysis is not a surrogate for a comprehensive health impact assessment
                                                                                                                                               and Responses on the Supplemental Draft EIS, located in Part 1 of Attachment Q.
                       because 1) the NAAQS are not an adequate surrogate for the health effects associated with
       U               exposure to the full array of pollutants emitted from highways, and 2) the modeling reported in                         Responses continue on the following page.
                       the Air Quality Technical Report only includes two of the four NAAQS that establish limits on
                       ambient concentrations of mobile source-related pollutants. Evidence provided in the SDEIS, but
                       not analyzed or discussed for decisionmakers or the public, strongly suggests that Project
                       emissions will cause the NAAQS for PM2.5 to be violated. Other highway pollution data suggest
                       that the NAAQS for NO2 may be violated by Project emissions as well. Emissions of these
                       pollutants from the Project must also be modeled to determine if these NAAQS will be violated.

       V                          i) NAAQS Not a Surrogate for Overall Highway Pollutant Exposures.

                       9
                           ISA for Oxides of Nitrogen, p. 5-15.


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                         All the air pollutants emitted from mobile sources in the I-70 corridor contribute to the adverse          754   9,10,11,12

                         health effects experienced by residents in the neighborhoods along I-70. These include the four                               V   The Final EIS considers the emissions of both NAAQS and MSAT pollutants for all of the
                         mobile source related criteria pollutants governed by a NAAQS pursuant to section 109 of the                                      alternatives during the period from 2010 to 2035, based on protocols and methodologies approved
                         CAA, and the mobile source air toxic (MSATs) pollutants regulated pursuant to section 202(l).                                     by EPA and CDPHE. As reported in the Final EIS Section 5.10, Air Quality, and Attachment J Air
                         42 U.S.C. § 7521(l).                                                                                                              Quality Technical Report, emissions of benzene, 1,3 butadiene, formaldehyde, diesel particulate
                                                                                                                                                           matter and other MSATs have been modeled and they are predicted to decline in the corridor
                         EPA has listed pollutants as MSATs that cause chronic adverse health effects, such as cancer,                                     considerably between 2010 and 2035 for all alternatives, even accounting for increases in VMT. As an
                         and acute effects from short-term exposures (hours or days) such as asthma attacks. Congress
                                                                                                                                                           example, diesel particulate emissions are forecast to decline by a factor of 15 times during this period.
                         listed benzene, 1,3 butadiene and formaldehyde as mobile source-related air toxics in the 1990
                         CAA amendments when it required EPA to set vehicle emission standards for these pollutants.                                       Further, the difference between the alternatives in these much lower emissions is around 2-4 percent
                         Id. EPA included these three statutory MSATs and ten other mobile source-related toxic                                            (e.g., 2 percent for diesel particulate matter). Thus, analyses of historic emissions, concentrations,
                         pollutants on a list of 33 priority pollutants targeted for control under EPA’s Integrated National                               or health impacts do not guide the choice among alternatives. According to the DEH Health Impact
                         Urban Air Toxics Strategy.10 This Strategy “established a list of urban HAPs [“hazardous air                                      Assessment: “Within the Denver metro area, the highest concentrations of air pollution are near the
                         pollutants”] which pose the greatest threats to public health in urban areas, considering emissions                               downtown area [several miles south of Globeville and Elyria Swansea]. Vehicle emissions are highest
                         from major, area and mobile sources.”11 EPA observed that “mobile sources are an important                                        along I-25 near downtown, as is the traffic density within a one-mile radius of downtown Denver.”
                         contributor to the urban air toxics problem.”12                                                                                   While there are high levels of emissions along I-70 (and other transportation corridors), they are not
                                                                                                                                                           the highest in the metropolitan area or state. According to the DEH study: “The average annual level
                         The neighborhoods near I-70 suffer from some of the worst air in the state. More than half a
                         million pounds of toxics were released into the air in Globeville, Swansea, and Elyria in 2012,                                   of air pollution in Globeville and Elyria Swansea is not higher than other areas of metro Denver, for
         V                                                                                                                                                 the air pollutants routinely measured. But North Denver neighborhoods are located closer to major
                         according to EPA’s Toxics Release Inventory – more than any other zip code in Colorado, and
                         more than 20 percent of the state’s total toxic air releases.13 Denver County as a whole suffers                                  sources of air pollution (e.g., refinery, power plant, asphalt roofing manufacturer), and occasional
                         from some of the worst diesel particulate pollution in the entire nation – ranking 9th out of the                                 spikes are noticeable and measurable.” While the MATES studies, conducted by the South Coast
                         3,109 counties nationwide. The lifetime cancer risk from diesel soot in Denver exceeds the risk                                   Air Quality Management District in the Los Angeles metropolitan area, have provided information
                         of all other air toxics tracked by EPA. Diesel soot is a major component of PM2.5 near                                            about health impacts in the Los Angeles area, they do not provide information about the impacts of
                         highways, and is a major source of the health risks linked to breathing fine particles. The average                               the alternatives under consideration for I-70 East. The levels of traffic, nearby stationary and other
                         lifetime diesel soot cancer risk for a resident of Denver County is 1 in 1,938, which is 516 times
                                                                                                                                                           sources, airports, seaports, meteorology, modeling and other factors in the MATES studies in Los
                         greater than the EPA’s acceptable cancer level of 1 in a million.14 This diesel pollution is likely
                         most concentrated at the mousetrap, where Colorado’s two most heavily traveled highways – I-                                      Angeles vary considerably from Denver generally and I-70 East particularly. Further, the MATES
                         70 and I-25 -- intersect.                                                                                                         studies’ conclusions regarding cancer and other health effects rely on health risk factors adopted by
                                                                                                                                                           the State of California that have not been adopted by EPA or CDPHE. For example, cancer risks
                         EPA’s findings that exposure to MSATs poses serious threats to public health were significantly                                   estimated in the MATES studies are dominated by diesel particulate matter based on carcinogenic
                         enhanced by research conducted by the South Coast Air Quality Management District to monitor                                      dose-response relationships that EPA has not accepted. As discussed in the response to Comment A
                         and model exposures to 31 urban toxic air pollutants in the Los Angeles air basin. Four studies                                   and elsewhere, I-70 Corridor-specific emissions are expected to drop considerably between now and
                         have now been completed in a series known as the Multiple Air Toxics Exposure Study                                               2035 and will not significantly vary among alternatives. The reductions in emissions are not gradual,
                         (MATES). Beginning with MATES-II (March 2000), the measurements of toxic air pollutants in
                                                                                                                                                           but instead are very large reductions (e.g., 15-fold reduction in diesel particulate matter). While EPA’s
                         the ambient air throughout the Los Angeles basin provided compelling new evidence that the
                         cancer risk attributable to public exposure to ambient concentrations of toxic air pollutants is                                  2009 comments on the 2008 Draft EIS did suggest conducting more health study, it has agreed to the
                         much higher than had been previously suspected, and is attributable primarily to mobile source                                    air quality analysis protocol used in the 2014 Supplemental Draft EIS and the Final EIS. It also did
                                                                                                                                                           not argue for additional health impact assessment studies in its comments on the Supplemental Draft
                         10
                                                                                                                                                           EIS or for dispersion modeling of PM2.5 or NO2. The Final EIS considers all reasonable alternatives
                         11
                            64 Fed. Reg. 38,706 (July 19, 1999).
                            Id. at 38,714.
                                                                                                                                                           to address the identified purpose and need. NEPA does not require FHWA to provide any detailed
                         12
                            Id. at 38,705.                                                                                                                 examination of alternatives that cannot meet the purpose and need of this project.
                         13
                           EPA’s TRI website at: http://www2.epa.gov/toxics-release-inventory-tri-program using zip
                         code 80216.
                         14
                                                                                                                                                           For information on transportation-related pollutants, including PM2.5, NO2, CO, and PM10, please
                           Clean Air Task Force website, Diesel Soot Health Impacts: Where You Live, Denver County. Available at:
                         http://www.catf.us/diesel/dieselhealth/county.php?c=08031&site=0 (last accessed October 14, 2013).
                                                                                                                                                           see AQ2 of the Frequently Received Comments and Responses on the Supplemental Draft EIS,
                                                                                                                                                           located in Part 1 of Attachment Q.
                                                                               10                                                                          For information on air quality in the project area, please AQ3 of the Frequently Received Comments
                                                                                                                                                           and Responses on the Supplemental Draft EIS, located in Part 1 of Attachment Q.




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                       emissions. The total cancer risk from all sources, including traffic (“on-road mobile”), non-road
                       mobile and stationary sources, averaged across the region was found to be 1400 per million. On-
                       road vehicle emissions accounted for half of this risk, or 700 per million. This equates to about 1
                       cancer for each 1450 exposed people.

                       MATES-II also demonstrated that higher levels of exposure and risk occur near highways. The
                       study found that the range of cancer risks varied significantly across the region, from 1,120 in a
                       million in the cleanest neighborhoods to about 1,740 in a million in the most polluted. Id., p. 7-1,
                       ¶ 1. The Report found the greatest risk levels at locations where “the dominance of mobile
                       sources is even greater than at other sites.” Id., ¶ 2. It also found that “model results, which are
                       more complete in describing risk levels…than is possible with the monitored data, show that the
                       higher risk levels occur… near freeways.” Id., p. ES-5, ¶ 2. “Results show that the higher
                       pollutant concentrations generally occur near their emission sources.” Id., ¶ 4. These findings
                       provide further evidence that neighborhoods near highways would experience higher
                       concentrations than the regional averages. Based on all these observations, MATES-II concluded
                       that “[f]or mobile source compounds such as benzene, 1-3 butadiene, and particulates associated
                       with diesel fuels, higher concentration levels are seen along freeways and freeway junctions.”
                       Id., p. 5-9.

                       MATES-IV (October, 2014),15 the most recent iteration of the toxic air pollutant exposure
                       research in the Los Angeles basin, shows significant reductions in toxic pollutant concentrations
                       other than diesel particulate and associated cancer risks. But the most recent data does not                 The information on
       V                                                                                                                             these pages has
                       support the conclusion that cleaner vehicles have eliminated the health risks from exposure to
                       MSATs. The MSATs included in the study, benzene and 1,3 butadiene, “were down 35% and                          been reviewed.
                       11%, respectively.” But this reduction was significantly less than the reductions in air toxics                 Responses to
                       emitted from stationary sources. The remaining toxic emissions from mobile sources continue to               specific comments
                       present a significant health risk, especially in locales near highways and interchanges where                  are included on
                       concentrations are highest.
                                                                                                                                    the previous page.
                       While diesel particles are counted as part of PM2.5 and are included in monitored
                       concentrations, other components of diesel exhaust are MSATs, and MSATs emitted from
                       gasoline vehicles are not emitted as particles, and are not counted as PM. Emitted as gases from
                       diesel and gasoline vehicles, other MSATs include benzene, formaldehyde, 1,3 butadiene, and
                       the other hazardous air pollutants listed by EPA in its Urban Air Toxics strategy. The AQ
                       Technical Report lists some of these MSATs, and provides estimates of the reductions in
                       emissions of these pollutants expected by 2035. However, the SDEIS does not link current
                       emissions to the community exposures that are contributing to adverse health outcomes in nearby
                       communities, and makes no effort to estimate the residual impact that future emission of these
                       pollutants will have on human health during the 20 years after the Project comes into service.

                       The DEH report, Fig. 11, provides compelling proof that traffic emissions cause benzene
                       pollution levels that are 3 to 5 times higher in neighborhoods near the interstates than in other
                       areas away from major highways. [In response to inquiry, Gregg Thomas at DEH informed me

                       15
                         MATES-IV (South Coast Air Quality Management District, 2014) available at :
                       http://www.aqmd.gov/docs/default-source/air-quality/air-toxic-studies/mates-iv/mates-iv-draft-report-10-1-
                       14.pdf?sfvrsn=2.


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                         that the units in Fig. 11 are modeled benzene concentrations.] This pattern of elevated exposure           754
                                                                                                                                                          CDOT, FHWA, CDPHE, and EPA have all coordinated regarding analysis needs, specifically
                                                                                                                                          12 and 13
                                                                                                                                                      W
                         to a potent carcinogen near highways is likely typical of other MSATs emitted from highways.
                         These modeling results provide a local example of the pollutant exposures that contribute to                                     including the pollutants for which there is a local air quality concern. They specifically identified
                         adverse health outcomes in these neighborhoods.                                                                                  PM10 and CO as a result of past nonattainment and current maintenance area status. And, the analysis
                                                                                                                                                          was specifically tied to intersections with LOS below level C, which is usually tied to CO hotspots.
                         In its 2009 comments on the DEIS, EPA flagged this omission as a major flaw in the DEIS. As                                      The identification of the need to model hotspots specifically excluded PM2.5 and NO2, because these
                         the results of the latest MATES-IV report shows, the health risks associated with exposure to                                    pollutants have never been pollutants of local air quality concern in the Denver Metropolitan area and
                         MSATs remain significant. The use of trend data in the SDEIS to show gradual reductions in                                       all monitoring for these pollutants show concentrations well below NAAQS standards. EPA’s general,
         V
                         future exposure to these pollutants is not enough to justify FHWA’s failure to provide an                                        nationwide concerns about PM2.5 and NO2 do not demonstrate that they are localized concerns with
                         assessment of exposures in response to EPA’s comment. The evidence available from MATES-
                                                                                                                                                          NAAQS likely to be violated in the Denver area. This is particularly the case where the emissions
                         IV establishes that these pollutants will continue to contribute to adverse health effects from
                         continuing exposure to mobile source pollutants. FHWA offers no evidence to establish that no                                    inventories for the I-70 East corridor show large reductions in PM2.5 tailpipe and NO2 emissions (the
                         beneficial improvement in health could be achieved by implementing alternatives that remove                                      precursor to NO2). For example, the emissions analysis shows that PM2.5 emissions will drop from
                         traffic and pollution from these communities. The obligation under NEPA and FAHA remains to                                      0.74 tons per day in 2010 to 0.37 tpd for the No-Action Alternative or 0.38 tpd for the Partial Cover
                         disclose the impact that future emissions of mobile source pollutants – both criteria and MSAT                                   Lowered Managed Lane Alternative in January. NO2 emissions are predicted to drop from 15.38
                         pollutants -- will have on community health. The available evidence confirms that MSATs will                                     tpd in 2010 to 3.40 tpd for the No-Action Alternative in 2035 or 3.50 for the Partial Cover Lowered
                         continue to contribute to future overall adverse health outcomes in communities along the I-70                                   Managed Lanes. Both pollutant inventories account for increases in VMT. Further, the difference
                         corridor. These impacts are a “significant impact on the human environment” that must be                                         between the No-Action Alternative and Partial Cover Lowered Managed Lanes Alternative was only
                         assessed and disclosed.
                                                                                                                                                          2.7 percent for PM2.5 emissions in 2035 and 3.5 percent for NO2. There is no specific basis for
                                ii) Not All Impacts of Highway-related Pollutants on National Ambient Air Quality                                         believing that NO2 NAAQS would be exceeded near I-70 other than that EPA has found exceedances
                                Standards Have Been Investigated and Disclosed.                                                                           in some high-traffic areas elsewhere in the country. However, actual monitoring data in Colorado
                                                                                                                                                          shows that monitored levels of NO2 are well below short-term and long-term standards. This
                         The Air Quality Technical Report (AQ Report), supplemental draft environmental impact                                            includes CDPHE’s new NO2 near-road monitor at I-25 in Downtown Denver that experiences much
                         statement (SDEIS), claims, at p. 83, that –                                                                                      higher, close-by vehicle counts than along I-70. See CDPHE/APCD, Colorado Annual Monitoring
                                Motor vehicle emissions from the implementation of the No-Action and Build Alternatives in the                            Network Plan 2015 (June 2015) at: http://www.colorado.gov/airquality/tech_doc_repository.
                                study area have been evaluated. With the exception of PM for several of the project alternatives,
                                the project is not expected to cause any new violations of any standard, increase frequency or                            aspx?action=open&file=2015AnnualNetworkPlan.pdf. In addition, the conformity regulations provide
                                severity of any existing violation, or delay timely attainment of the NAAQS.                                              for hotspot analyses of PM and CO, not NO2. See also the responses to comments X and Y, as well as
                                                                                                                                                          Attachment J Air Quality Technical Report.
                         This assertion is not correct because the AQ Report only includes modeling of expected ambient
                         concentrations for CO and PM-10. An emissions inventory has been developed for PM2.5, but
                                                                                                                                                          For more information on transportation-related pollutants, including PM2.5, NO2, CO, and PM10,
         W               the ambient concentrations of PM2.5 have not been specifically modeled or reported. An
                                                                                                                                                          please see AQ2 of the Frequently Received Comments and Responses on the Supplemental Draft EIS,
                         emissions inventory has been reported for NO2, but no modeling has been conducted. No
                         explanation is offered in the AQ Report for why PM2.5 and NO2 have not been modeled to                                           located in Part 1 of Attachment Q.
                         determine the impact that emissions of these pollutants will have on attainment of the applicable
                         NAAQS. In addition, the claim that one Build Alternative will not violate the NAAQS for PM-
                         10 is not credible for the reasons discussed below.

                         Given EPA’s findings that emissions of PM2.5 and NO2 from highways present a significant
                         risk of causing violations of the NAAQS for those pollutants in neighborhoods near highways,
                         and highway emissions studies that confirm those findings, emissions of those pollutants
                         significantly impact the human environment and therefore trigger the obligation under NEPA to
                         (i) investigate and disclose to the public and decisionmakers in the SDEIS the likelihood that
                         emissions of those pollutants from the I-70 Project threaten to violate the NAAQS for PM2.5 and
                         NO2, and (ii) to identify alternatives or mitigation measures sufficient to prevent or avoid any
                         likely violations of such NAAQS. In addition, section 109(h) of the Federal-Aid Highway Act


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                                                                                                                           754   13 and 14
                       requires that any such mitigation measures needed to prevent violations of NAAQS be                                   X   The project includes a PM10 hotspot analysis per EPA guidelines. The project does not include a
                       implemented in the ROD. As discussed in more detail in the legal section of these comments,                               PM2.5 hotspot analysis, for the reasons discussed in the response to comment U. The “short-hand
       W               the failure to investigate and disclose potential violations of these NAAQS, and the failure to
                                                                                                                                                 approach” for extrapolating from PM10 dispersion modeling to reach conclusions regarding PM2.5
                       identify such alternatives and/or mitigation measures as are necessary to prevent of avoid such
                       violations makes this SDEIS inadequate as a matter of law.                                                                concentrations is not supported by any EPA or CDPHE regulations, guidance or protocols. The
                                                                                                                                                 approach also relies on a fundamental error in applying the ratio of PM10 and PM2.5 emissions from
                               PM2.5 Attainment. EPA found the highest relative risk factors for the adverse health                              Tables 22 and 23 of the Air Quality Technical Report from the Supplemental Draft EIS. However,
                       outcomes observed in the near-I-70 neighborhoods to be associated with exposure to PM2.5 (fine                            these tables only account for the tailpipe, road wear and tire wear elements of PM2.5 and PM10
                       particles smaller than 2.5 micrometers in diameter), also referred to as soot. This is the air                            emissions, even though the vast majority of PM10 emissions (87 percent) modeled are from re-
                       pollutant emitted from diesel trucks and gasoline vehicles, and particles that result from brake                          entrained road dust. The project follows the EPA PM10 hotspot analysis per EPA guidelines. See
                       and pavement wear. But the impact of PM2.5 emitted from the Project on ambient air quality are                            Tables 22, 23 and 35 of the Final EIS Attachment J Air Quality Technical Report. This error is critical,
                       not modeled in the AQ Technical Report, and not discussed in the SDEIS.
                                                                                                                                                 because most of the tailpipe emissions are very small diameter particulates that qualify as PM10 and
                       A short-hand approach for using the modeling results for PM-10 to approximate the                                         PM2.5. However, the same assumption cannot be made of road dust, which is disproportionately
                       concentrations of PM2.5 demonstrates that traffic emissions of PM2.5 from every Project                                   PM10 and not PM2.5. The precise fraction of PM2.5 in road dust from paved roads is small and
                       scenario will violate the 24-hour NAAQS for PM2.5. Compliance with the annual NAAQS for                                   dependent on a multitude of factors, including the proportion of silt in soil material on roads, the
                       PM2.5 is not discussed or demonstrated anywhere in the SDEIS.                                                             precise formulation of traction materials applied for snow and ice, sweeping activities, region-
                                                                                                                                                 wide measures to reduce road dust, rain and other wet conditions, etc. None of these factors were
                       The emissions inventory developed for the analysis and modeling of of PM-10 concentrations                                addressed in the methodology for the “short-hand approach.” The difference is also critical because
                       includes an emissions inventory for PM2.5, which constitutes a fraction of total PM-10. The                               EPA requires road dust to be considered in PM2.5 hotspot analyses “only if EPA or the state air
                       inventory data show that PM-10 particles less than 2.5 µm in diameter comprise 57% of total
                                                                                                                                                 agency has made a finding that such emissions are a significant contributor to the PM2.5 air quality
                       PM-10 emissions from the I-70 Project. See AQ Report, Tables 22 and 23, p.69 (showing that
                       daily total PM-10 emissions from traffic in the I-70 in January 2035 will be 0.7 tons/day, and of                         problem in a given nonattainment or maintenance area.” EPA, Transportation Conformity Guidance
                       that total 0.4 t/d will be PM2.5).                                                                                        for Quantitative Hot-Spot Analyses in PM2.5 and PM10 Nonattainment and Maintenance Areas at
                                                                                                                                                 Sections 2.5.3 and 2.5.4 (Nov. 2013). In this circumstance neither CDPHE nor EPA have identified a
       X               The air quality modeling for PM-10 estimates that the cleanest build alternative (the lowered 10-                         PM2.5 air quality problem for Denver (to the contrary, CDPHE consistently finds monitored levels
                       lane scenario with a single 800 feet cover, an interchange at Vasquez Blvd/Steele St and                                  below NAAQS values) nor that road dust contributes to such a problem. Removing the road dust
                       managed lanes) will add 38 µg/m3 to daily (24-hr) background concentrations of PM-10. The                                 portion of the PM10 inventories modeled for the I-70 East alternatives drastically reduces PM2.5
                       emission inventory data states that of this 38 µg/m3 of PM-10 added by Project emissions to                               emissions and the percentage that could be used under the “short-hand approach,” such that it would
                       ambient air concentrations, 57% will be PM2.5. Thus if the 43% of the PM-10 that is larger than
                                                                                                                                                 not exceed NAAQS thresholds, even if such methodology were appropriate. As a result, the only
                       2.5 µm is removed from the calculation, the concentration that remains is particles in the PM2.5
                       size range. Thus the modeling demonstrates that traffic emissions from the project will add (38 x                         credible evidence -- the monitored levels used by the agencies -- strongly supports the conclusion
                       .57) 21.7 µg/m3 to daily concentrations of PM2.5 at the peak receptor locations.                                          that there is no PM2.5 problem that would require or justify modeling PM2.5 concentrations and no
                                                                                                                                                 risk of a PM2.5 NAAQS exceedance. Since the concentrations from dispersion models are directly
                       Using the same methodology used in the AQ Report to estimate future 24-hour concentrations of                             proportional to emissions, the relative differences in concentrations between alternatives (modeled
                       PM-10, this 21.7 µg/m3 of PM2.5 must be added to the 98th percentile concentrations of PM2.5                              concentrations, not including background) would be the same for PM10 and any other pollutant.
                       measured at the monitoring station used to establish background air quality for the Project area.
                       Background 24-hour concentrations of PM2.5 at the Commerce City monitoring station (Birch
                       Street and 71st) , using EPA’s methodology for calculating the 24-hour “design value,”16
                       consistently exceed 20 µg/m3 in the project area. See Design Values for 2011, 2012, 2013
                       (attached hereto as Appendix A).

                       When the approximate 24-hour concentrations of PM2.5 added by Project emissions, as derived
                       from the PM-10 modeling results, are added to background PM2.5 design values occurring at the
                       Commerce City monitor, the modeling results for PM-10 demonstrate that even the cleanest
                       16
                            40 CFR Part 50, Appendix N.


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                                                                                                                                       754   14 and 15
                         Project alternative will contribute to 24-hour concentrations greater than 40 µg/m3. The 24-hour                                Y   The modeling analysis for PM10 was revised since the release of the Supplemental Draft EIS, in
                         NAAQS is 35 µg/m3. The PM-10 modeling results for other Project alternatives show that                                              coordination with the EPA and the CDPHE. The higher predicted emissions from the Partial Cover
                         PM2.5 emitted from these alternatives will add even more than 40 µg/m3 of PM2.5 to                                                  Lowered Alternative, Modified Option was caused by the accumulation of emissions from both of the
                         background 24-hour concentrations. Therefore, all Project alternatives will cause violations of                                     covers converging in one location between the two covers. With the Basic Option, there is only one
                         the 24-hour NAAQS for PM2.5.
                                                                                                                                                             cover, so this accumulation did not occur. The second cover is not included as part of the Preferred
                         Given this evidence that the 24-hour NAAQS for PM2.5 will be violated, NEPA requires that the
                                                                                                                                                             Alternative in the Final EIS, but if it is pursued by others in the future, air quality will need to be
         X                                                                                                                                                   analyzed. The PM10 analysis performed for the Final EIS shows that all alternatives will result in
                         Draft EIS must consider Project alternatives or control strategies that will prevent or avoid these
                         violations. See 40 CFR §§1502.1, 1502.2(d), 1502.14 and 1502.16(h). To determine whether                                            levels at or below the NAAQS for this pollutant. For information on transportation-related pollutants,
                         alternatives or control strategies will be adequate to prevent NAAQS violations, the impact of                                      including PM2.5, NO2, CO, and PM10, please see AQ2 of the Frequently Received Comments and
                         Project emissions on PM2.5 concentrations must include a quantitative assessment of the                                             Responses on the Supplemental Draft EIS, located in Part 1 of Attachment Q.
                         expected magnitude of violations of both the 24-hour and annual NAAQS, and a quantitative
                         demonstration that alternatives or control strategies will achieve sufficient reductions in
                         emissions to ensure attainment at all receptor locations included in the modeling analysis.

                                 PM-10 Attainment. The modeling results for PM-10 show that traffic emissions from
                         five of the six “build” Project alternatives will violate the 24-hour NAAQS for PM-10. See AQ
                         Report, Table 20, p.65. These violations are expected to exceed the PM-10 NAAQS (150 µg/m3)
                         by 20 to 45 µg/m3. Only one “build” alternative (the lowered 10-lane scenario with a single 800
                         feet cover, an interchange at Vasquez Blvd/Steele St and managed lanes referred to as the “Basic
                         Option”) and the No-build alternative are modeled as exactly attaining the NAAQS.

                         Despite the requirement of 40 CFR §1502.14(e) that the Draft EIS identify a “preferred
                         alternative,” no alternatives are identified as preferred. Each alternative is treated as an available
                         option for CDOT and FHWA to select. Therefore the Draft EIS must identify Project alternatives
                         or control strategies that will prevent or avoid these modeled NAAQS violations for each of the
                         available options. See 40 CFR §§1502.1, 1502.2(d), 1502.14 and 1502.16(h).

                         In addition, the modeling result for the one lowered, managed lane option that allegedly does not
         Y               violate the NAAQS is not credible. The emissions for the alternative that demonstrates
                         attainment (the “Basic Option”) is modeled to add only 38 µg/m3 to ambient concentrations of
                         PM-10, whereas emissions from the other lowered, managed lane option (with two covers and no
                         interchange at Vasquez Blvd/Steele St referred to as the “Modified Option”) is expected to add
                         82 µg/m3 to background concentrations of PM-10, thereby causing concentrations at peak
                         receptors to reach 195 µg/m3, violating the NAAQS by 45 µg/m3. See AQ Report, Table 20. Yet
                         the expected winter day emissions of PM-10 from the two alternatives are virtually identical:
                         0.68 t/day. See AQ Report, Table 23 (p. 69). The discussion of PM emissions in the AQ Report,
                         at p.68, explains that –
                                Although there are minor differences in emissions among the No-Action and Build Alternatives,
                                there is no real discernible difference, since they are all very close in any given year. Therefore,
                                the particulate matter emissions are not a discriminating factor in the selection of a preferred
                                alternative.
                         It is not plausible that virtually identical emissions from the two lowered, managed lane
                         alternatives could produce daily ambient concentrations of PM-10 that differ by 45 µg/m3.

                         The traffic data for these two alternatives also does not explain the large (55%) difference in
                         peak daily ambient concentrations of PM-10 added by the two alternatives (38 µg/m3 versus 82


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                       µg/m3). The Basic Option has higher expected traffic (annual VMT = 2,959,000) on I-70,                       754   15 and 16
                                                                                                                                                      Z   Construction impacts are not required to be assessed if construction will not last more than 5 years
                       compared to expected traffic on the Modified Option (annual VMT = 2,935,000). Total VMT in                                         in any individual site (40 CFR 93.123(c)(5)), and there is no credible evidence that there will be any
                       the Project study area differs between the two alternatives by less than 0.35%: Basic Option =
                                                                                                                                                          exceedances of the NAAQS during the construction period. Monitoring supported data available
                       25,036,000 versus Modified Option = 25,125,000. 17
                                                                                                                                                          nationwide and specific to Colorado highway construction confirms that BMPs for dust control and
                       Given that the contribution added to ambient concentrations by the Modified Option (82 µg/m3)                                      suppression deployed by CDOT and other DOTs have been successful in goal of keeping temporary
                       is much closer to the concentrations added by other alternatives without managed lanes, and                                        construction dust from contributing to an exceedance or violation of the public health PM10 NAAQS.
                       without covers over segments of the lowered portion of the Project, the much lower contribution
       Y               added by the Basic Option (38 µg/m3) is the implausible outlier. In the absence of any                                             Many mitigation measures have been identified in the Final EIS to offset the impacts of the project.
                       correlation between the significantly lower ambient concentrations for the Basic Option and key                                    For information on project mitigation measures, please see IMP1 of the Frequently Received
                       factors that could account for 55% lower concentrations, such as either lower total Project                                        Comments and Responses on the Supplemental Draft EIS, located in Part 1 of Attachment Q.
                       emissions or significantly lower traffic counts, the claim that the Basic Option will not contribute
                       to violations of the NAAQS for PM-10 is not credible.
                                                                                                                                                          The concerns regarding dust during construction have been adequately addressed in the Final EIS.
                       Information that would help better understand the modeling results is not provided in the AQ                                       For information on mitigating fugitive dust during construction, please see IMP7 of the Frequently
                       Technical report. Missing information includes data files showing inputs to the MOVES                                              Received Comments and Responses on the Supplemental Draft EIS, located in Part 1 of Attachment
                       emission model and to the dispersion model runs.                                                                                   Q.

                       II. Construction Emissions.

                       Neither the Draft EIS, nor the AQ Technical Report include any discussion of the likely impact
                       that construction emissions will have on air quality or adverse health outcomes in the
                       communities affected by emissions from heavy equipment during construction operations.

                       Emissions during construction will be a much greater concern for this project than most highway
                       projects because of the years of excavation and earth moving that will be required to dig the
                       trench and haul the removed earth to a disposal site 20 or more miles away. For most projects,
                       construction activities are limited to grading, laying a road bed and paving. Here, the years of
                       excavation required will likely increase construction emissions by an order of magnitude
       Z               compared to most projects.

                       Despite the potential significance of these emissions for community health, the SDEIS lacks any
                       discussion of the mitigation measures available to CDOT to require contractors to use low sulfur
                       fuels, employ low-emitting equipment that can minimize the impact of diesel fumes on local
                       residents, and other mitigation measures identified in EPA's 2008 comment letter.

                       EPA has now added non-road emissions factors to the MOVES model for use in modeling the
                       impact of activities such as construction on ambient air quality. This tool should be applied to the
                       expected construction operations during the excavation of the I-70 trench in addition to more
                       traditional highway construction activities to estimate the likely impact on air quality near the
                       construction zone.




                       17
                            See I-70 East Environmental Impact Statement, Traffic Technical Report, Figures 86 and 88, pp. 95-96.


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                                                                                                                            754     16
                       In addition the alternatives and mitigation options discussed by EPA in 2009 should be                                A1   Refer to responses to comments B1, C1, D1, E1, and F1 for detailed information and responses to
       Z               committed to minimize public exposure during construction. Additional measures should be                                   these points.
                       committed if emissions will potentially contribute to exceedances of short-term NAAQS.
                                                                                                                            754   16,17,18
                       III. Legal Standards for Decisionmaking Not Satisfied by SDEIS.                                                       B1   The Final EIS discloses project-related impacts for all alternatives and considers mitigation measures
                                                                                                                                                  where there are project impacts. For example, see IMP1 of the Frequently Received Comments and
                       Three statutory regimes establish decisi0nmaking criteria relevant to the health and air quality                           Responses on the Supplemental Draft EIS, located in Part 1 of Attachment Q regarding mitigation
                       issues of concern to local residents: 1) the National Environmental Policy Act (NEPA), 42
                                                                                                                                                  to address emissions during the construction period. NEPA does not require FHWA to consider or
                       U.S.C. 4321 et seq.; 2) section 109(h) of the Federal Aid Highway Act (FAHA), 23 U.S.C.
                       109(h); and 3) the conformity requirements of section 176(c) of the Clean Air Act, 42 U.S.C. §                             implement alternatives that are not feasible and prudent, such as removing I-70 from this corridor
                       7506(c). The SDEIS fails to comply with each of these statutes because it does not –                                       or rerouting traffic to the I-76/I-270 corridor. Similarly, moving residents to other locations is not
      A1                                                                                                                                          reasonable. It also isn’t a feasible mitigation measure because no areas have been identified in the
                           1. investigate all of the adverse impacts of emissions from the Project;
                           2. disclose to decisionmakers and the public all potential adverse impacts of the Project;                             Final EIS analysis to exceed any state or federal air quality standard. No portion of the Denver
                           3. consider numerous reasonable alternatives, or mitigation measures, that can avoid or                                metropolitan area experiences zero pollution levels from motor vehicles and there are no criteria
                               prevent some or all of the adverse health and air quality impacts;                                                 provided that would allow CDOT to determine what areas are “safe and healthful.” For example,
                           4. include the costs of mitigation as required by FAHA;
                           5. does not contain any comparison of mitigation costs with transportation benefits to                                 some areas with lower PM2.5 may have higher ozone levels. The purpose of the EPA and CDPHE
                               explain why the Project is in the “best overall public interest”; and                                              NAAQS and MSAT programs are to allow all areas to meet health standards and reduce overall risk.
                           6. does not contain a conformity determination as required by the CAA.                                                 As discussed in detail in the Final EIS, all of the alternatives evaluated will experience significant
                                                                                                                                                  reductions in emissions for all health-related pollutants (except for road dust), even with increases in
                          A. NEPA Rules Governing Federal Decisionmaking.                                                                         VMT. Thus, any health effects below NAAQS thresholds or pollutants without EPA thresholds are
                                                                                                                                                  expected to improve with time. The analysis of air quality shows that no exceedances of air quality
                       The CEQ NEPA regulations that govern environmental statements require that an EIS must –
                              1) disclose to the public and the decisionmaker any "significant environmental impact"                              standards are expected. Furthermore, extrapolating the existing ratio of PM2.5 to PM10 to other
                       the proposed action will likely have, 40 CFR 1502.1; and                                                                   scenarios in an effort to predict violations of the NAAQS is not scientifically valid, as particulate
                              2) “inform decisionmakers and the public of reasonable alternatives which would avoid                               emissions in different size fractions come from multiple different sources, not all of which vary at
                       or minimize adverse impacts or enhance the quality of the human environment;” id., and                                     the same rate with changes between build alternatives or traffic loads. And, all of the alternatives are
                              3) “discuss means to mitigate adverse environmental impacts” which includes avoiding                                nearly identical from an air quality perspective, with only very small differences between them and
                       the impacts by not taking the action, or compensating for the impacts by providing alternative                             none exceeding applicable standards. Accordingly, there is no requirement under NEPA to conduct
                       resources or environments. 40 CFR 1502.14(f), 1502.16(h), 1508.20.
                                                                                                                                                  further analyses or analyze mitigation.
                       The Supreme Court has interpreted these provisions to require that an EIS must consider
                       alternatives and mitigation that can avoid or minimize the adverse impacts of a proposed project.                          For more information on transportation-related pollutants, including PM2.5, NO2, CO, and PM10,
      B1               As the Supreme Court observed, embedded in these requirements “is an understanding that the                                please see AQ2 of the Frequently Received Comments and Responses on the Supplemental Draft EIS,
                       EIS will discuss the extent to which adverse effects can be avoided.” Robertson v. Methow                                  located in Part 1 of Attachment Q.
                       Valley, 490 U.S. 332, 352 (1989). The SDEIS for I-70 is inadequate because the project
                       alternatives and mitigation options were not evaluated to determine whether they will “avoid or
                       minimize” the adverse health impacts on the near-highway communities that will result from
                       increased exposure to harmful pollutants, or avoid localized NAAQS violations that will likely
                       be caused by emissions from the expanded highway. Equally important, the SDEIS fails to
                       consider alternatives that will “enhance the quality of the human environment” by reducing
                       pollutant exposures in the communities along I-70 below levels that are currently contributing to
                       disparate adverse health outcomes for residents in communities near I-70.

                       Mitigation cannot be evaluated in the abstract; it must be evaluated with reference to the adverse
                       impacts that are to be avoided. Here, the failure to estimate adverse health outcomes attributable



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                       to current and future emissions from I-70, provides no basis for estimating the health benefits
                       likely to accrue to the near-highway communities that could be achieved by reducing pollutant
                       exposures through an alternative that, for example, would divert “through” traffic onto I-76 and
                       I-270. Similarly, the mitigation needed to avoid violations of the NAAQS for PM2.5 or NO2
                       cannot be determined without modeling PM2.5 and NO2 emissions from the Project to determine
                       the magnitude of likely violations of the NAAQS. The SDEIS fails to disclose these likely
                       significant impacts, fails to determine the extent of the pollutant concentrations that would need
                       to be reduced to avoid adverse health effects or NAAQS violations, and fails to consider any
                       alternatives or mitigation sufficient to avoid the adverse health effects or NAAQS violations.

                       Both increased health impacts, 40 CFR 1508.27(b)(2), and the likelihood of violating an
                       environmental standard such as a NAAQS, 40 CFR 1508.27(b)(10), are separate criteria for
                       determining that an impact is "significant" for the purpose of triggering an investigation under
                       NEPA. The failure of this SDEIS to address either the impact of Project emissions on health
                       outcomes in the affected neighborhoods, or the likelihood that emissions will cause the NAAQS
                       for PM2.5 and NO2 to be violated, makes the SDEIS deficient. The I-70 SDEIS falls short of
                       these requirements because the air quality section includes a modeling analysis of only two of
                       the criteria pollutants emitted from highways: CO and PM-10, but not the pollutants EPA has
                       identified as most responsible for the adverse health effects of highways: PM2.5 and NO2. In
                                                                                                                          The information on
                       addition, the SDEIS includes no discussion or analysis of the adverse health impacts associated
                       with the total exposure to all the pollutants emitted from highways that will result from           these pages has
                       increasing traffic by 30% above current levels. The current SDEIS is deficient both because there been reviewed.
                                                                                                                             Responses to
      B1               is no consideration of the overall public health impact of exposure to all pollutants that will be
                       emitted from the Project, and because the analysis of whether specific criteria pollutants will    specific comments
                       violate relevant NAAQS is lacking or deficient.                                                      are included on
                                                                                                                          the previous page.
                       The short-hand approach using the modeling results for PM-10 emissions from the Project
                       discussed above to approximate the impact of PM2.5 emissions on attainment of the NAAQS
                       demonstrates why PM2.5 emissions from the Project “threaten a violation” of the NAAQS for
                       PM2.5. This evidence may not be suitable for establishing expected concentrations of PM2.5 for
                       the purpose of determining whether any proposed alternative or mitigation is sufficient to
                       prevent a violation of the NAAQS, but it is suitable for the purpose of demonstrating that the
                       Project threatens to violate the NAAQS. That threat triggers the obligations to determine what
                       the impact that such emissions will have on attainment of the NAAQS, to ensure the scientific
                       integrity of the methods used to assess the threat, 40 CFR § 1502.24, and to determine how much
                       emission reduction is needed to avoid or prevent the violation.

                       In this case, where a violation of the CAA is threatened by causing or contributing to violations
                       of a NAAQS, the methods prescribed by EPA for assessing the impact of highway emissions on
                       NAAQS violations should be used because the use of a method not approved by EPA would not
                       satisfy the requirement that an EIS “shall state how alternatives … will or will not achieve the
                       requirements of … other environmental laws and policies.” 40 CFR § 1502.2(d). The analysis for
                       PM-10 and CO apply the methodologies prescribed by EPA in its Quantitative Guidance for
                       making project-level conformity determinations. Those methodologies should be applied to
                       assess the likely impacts of PM2.5 and NO2 emissions as well.




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                                                                                                                               754   18 and 19
                                                                                                                                                 C1   The requirements of Section 109(h) are met, because the NEPA process has exhaustively considered
                       Both the adverse health outcomes documented in the communities adjacent to I-70, and the
                                                                                                                                                      the project on air pollution, health, economic, and other environmental considerations, and has taken
                       likelihood that Project emissions will contribute to violations of one or more NAAQS, trigger                                  steps to avoid and minimize impacts. Because I-70 is already in place and will stay in place under the
                       the obligation under NEPA to consider alternatives and/or mitigation that can avoid or minimize                                No-Action Alternative, the Build Alternatives -- including the Preferred Alternative -- will have no
                       these adverse impacts. 40 CFR § 1502.1 (duty to inform of alternatives that can avoid or                                       air quality impacts. Further, for air quality, the project will not result in an increase in emissions as
                       minimize adverse impacts), §§ 1502.14 and 1502.16(e) (duty to compare alternatives based on                                    federal emissions standards and other regulations reduce emissions from motor vehicles. The Final
                       their environmental impacts), §§ 1502.14(f) and 1502.16(h) (duty to disclose all means to                                      EIS also includes a detailed list of mitigation measures and BMPs related to air quality.
                       mitigate adverse environmental impacts not avoided by preferred alternative), § 1508.20 (must
                       consider mitigation that “avoid[s] the impact altogether” and “compensating for the impact by
                       replacing or providing substitute resources or environments”).                                                                 For information on human health, please see AQ4 of the Frequently Received Comments and
                                                                                                                                                      Responses on the Supplemental Draft EIS, located in Part 1 of Attachment Q.
                       In addition to avoiding adverse environmental impacts, NEPA also requires consideration of
                       “reasonable alternatives which would enhance the quality of the human environment.” 40 CFR §
                       1502.1. This obligation implements the statutory directive that the Federal Government “use all
      B1               practicable means … to the end that the Nation may – (2) assure for all Americans safe,
                       healthful, [and] productive … surroundings; … and (6) enhance the quality of renewable
                       resources.” 42 U.S.C. § 4331(b). Consideration of alternatives that enhance the human
                       environment serve the Congressional declaration that the “purposes” of NEPA include
                       “promot[ing] efforts which will prevent or eliminate damage to the environment and biosphere
                       and stimulate the health and welfare of man….” 42 U.S.C. § 4321.

                       In this case, public health in the communities adjacent to I-70 is being impaired by exposure to
                       air pollutants from highways. The proposed project provides an opportunity to reduce those
                       impacts on human health by either 1) removing traffic and traffic-related pollution from the
                       neighborhoods that are suffering from adverse health outcomes without interfering with regional
                       mobility by redirecting through traffic around north Denver onto I-76 and I-270, or 2) offering to
                       buy out residents in the zone of adverse health impacts to allow them to move to safe and
                       healthful surroundings. The SDEIS does not consider either of these alternatives.

                              B. Environmental Impacts of Project Not Evaluated under Supplemental Criteria
                              Enacted for Highway Projects.

                       Section 109(h) of the Federal-Aid Highway Act, enacted one year after NEPA, supplements the
                       general procedures applicable to all major federal actions under NEPA by requiring a three-step
                       evaluation of air quality impacts and mitigation measures to ensure that “final decisions on the
                       project are made in the best overall public interest.” 23 U.S.C. § 109(h). The first step is to
                       determine the “possible adverse economic, social and environmental effects relating to any
                       proposed project.” Id. The second step is to determine “the costs of eliminating or minimizing
      C1               such adverse effects and … (1) air…pollution.” Id. The third step is to weigh “the costs of
                       eliminating or minimizing such adverse effects” together with “the need for fast, safe and
                       efficient transportation” to make a final decision whether the project is “in the best overall public
                       interest.” Id. FHWA’s implementing regulation further requires that any measures necessary to
                       mitigate these adverse effects be incorporated into the project. 23 C.F.R. § 771.105(d).
                       The SDEIS fails to include consideration of any of these factors for the adverse effects of air
                       pollution. There is no consideration at all of the potentially severe health effects of exposure to
                       the mix of criteria pollutants and MSATs that will be emitted from the Project, not to speak of
                       the costs of eliminating or minimizing the adverse health effects of community exposure to these


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                                                                                                                          754     19
                 pollutants. Indeed, the administrative record is devoid of any mention of section 109(h) and the                          D1   The conformity determination was not required in the draft stage of the document, and is being made
                 factors that it requires FHWA to consider.
                                                                                                                                                for the Final EIS. A final conformity determination will be made in the ROD. See Section 5.1.2 of
                 Importantly, § 109(h) adds a requirement that before it can sign a ROD, FHWA must document                                     Attachment J to the Final EIS, Air Quality Technical Report, and Section 5.10.6 of the Final EIS for
                 the “adverse economic [and] social effects relating to any proposed project,” and weigh these                                  the conformity determination.
                 effects in deciding whether the Project is in the “best overall public interest.” These are in
                                                                                                                          754
                                                                                                                                                In consultation with CDPHE and EPA, CDOT determined that the project was a project of local air
                                                                                                                                19,20,21
                 addition to the environmental factors made relevant under NEPA. These include the economic                                E1
                 costs of 1) adverse health effects, including loss of life, and 2) loss of value in homes that will be
                 imposed on residents in neighboring communities by the emissions from the project. This
                                                                                                                                                quality concern. The Air Quality Technical Report has been revised, and is included as Attachment J
                 provision also requires that FHWA and CDOT document the social effects that result from                                        to the Final EIS. The report now identifies the designation of the I-70 East project as a project of local
                 disruption to families after the loss of a parent from pre-mature death or hospitalization for the                             air quality concern.
                 diseases of air pollution, and the effects on childhood development that are caused by impaired
                 lung development and asthma attacks that interfere with school attendance and slow educational
                 advancement among children.

                 Under this provision, FHWA must also determine “the costs of eliminating or minimizing such
      C1         adverse effects and … (1) air…pollution.” To eliminate the adverse effects of air pollution,
                 emissions must be reduced to levels not expected to harm local residents, or local residents must
                 be given the option to receive the value of their homes and move to a location outside the zone
                 exposed to dangerous concentrations of air pollution. So long as FHWA and CDOT treats the
                 expansion of I-70 as a preferred alternative, the evaluation of Project costs must include the cost
                 of purchasing the homes of nearby residents within the zone of exposure to harmful levels of air
                 pollution emitted from the Project.

                 FHWA must also explain how it weighs these factors in making the public interest determination
                 required by FAHA. The SDEIS omits any discussion of the factors made relevant by the Act, and
                 contains no explanation of how these factors are to be weighed in determining whether the
                 Project is in the “best overall public interest.”

                 Finally, the ROD for the Project must provide for the implementation of all mitigation measures
                 that are relied upon to determine that the transportation benefits of the Project outweigh the
                 adverse effects.

                        C. SDEIS Does Not Include a Proposed CAA Conformity Determination.

                 The SDEIS discusses the tests that must be satisfied for the Project to be found in conformity
      D1
                 under section 176(c) of the CAA, but does not propose to make a finding that the Project meets
                 all of those tests and conforms. Instead, the AQ Technical Report asserts that a conformity
                 determination is not necessary because the Project is not a “project of air quality concern.”

                         1. I-70 is Project of Air Quality Concern.
                 EPA’s Hot Spot conformity rule does not establish numeric criteria for exempting highway
                 projects from the conformity requirement. When it revised the Hot Spot rule in 2006, EPA
      E1         explained that “Clean Air Act section 176(c)(1)(B) is the statutory criterion
                 that must be met by all projects in nonattainment and maintenance areas that
                 are subject to transportation conformity.” 71 F.R. 12,471(March 10, 2006). The I-70




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                Project is subject to transportation conformity because it is a source of PM-10 in a maintenance
                area for PM-10.18

                EPA explained that the Hot Spot rule requires that “all projects that have the potential
                to impact the air quality standards will be analyzed using appropriate
                methods before they receive Federal funding or approval.” 71 F.R. 12,472 (March
                10, 2006). In the case of I-70, the modeling for the Project makes clear that this Project has the
                potential to violate the NAAQS for PM-10 because all alternatives, except one build alternative
                and the No-build alternative, will cause the NAAQS to be violated. This modeling evidence
                demonstrates that the Project is a “project of air quality concern.”

                EPA did recognize authority under the Act to exempt projects from Hot Spot analyses, but EPA
                recognized that only it has that authority, and that it must be exercised through rulemaking.
                             EPA also believes it has discretion to not require analyses of
                             localized impacts of projects if we have scientific evidence that
                             PM2.5 and PM10 hot-spots are not a concern with respect to the
                             standards. That is, even under the statutory standards of section
                             176(c)(1)(A) and (B), if EPA determines through rulemaking that
                             certain types of projects will not cause or contribute to violations
                             of any standard or delay attainment, EPA concludes that we have the
                             authority to determine through the conformity rule that no additional                   The information on
                             analysis would be necessary to meet section 176(c)(1)(A) and (B).
                                                                                                                      these pages has
                                                                                                                       been reviewed.
      E1        71 F.R. 12,481(March 10, 2006). EPA has not adopted a rule exempting major interstate
                expansion projects from Hot Spot analysis, nor has it authorized transportation agencies to             Responses to
                exempt projects from Hot Spot analysis on a case-by-case basis.                                      specific comments
                                                                                                                       are included on
                The Hot Spot rule also recognizes a procedure whereby the State, through its SIP, may exempt         the previous page.
                projects from hot spot analysis for PM-10. “40 CFR 93.109(k) already allows PM10 areas
                with insignificant regional motor vehicle emissions to demonstrate, when
                appropriate, that individual projects will not create new localized
                violations or make existing violations worse. Projects in such cases would
                not require PM10 hot-spot analyses.” 71 F.R. 12,489 (March 10, 2006). But Colorado
                has not made any finding that regional motor vehicle emissions are “insignificant” with respect
                to PM-10.

                In the AQ Technical report, FHWA claims that it may exempt projects that do not involve a
                significant increase in diesel trucks. But that is not the test that EPA provided in the Hot Spot
                rule. The rule requires projects with a “significant number of diesel vehicles” to be analyzed for
                impacts on the NAAQS.

                             Section 93.123(b)(1) of today's final rule requires PM2.5 and PM10
                             hot-spot analyses for the following projects of air quality concern:
                                  Section 93.123(b)(1)(i): New or expanded highway projects that
                             have a significant number of or a significant increase in diesel
                             vehicles.” [Emphasis added.] 71 F.R. 12,490 (March 10, 2006).



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                     42 U.S.C. § 7506(c)(6).


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                                                                                                                       754      21
                                                                                                                                         F1   After completion of the Supplemental Draft EIS modeling, interagency consultation partners EPA
                                                                                                                                              and APCD reviewed the Air Quality Technical Report and modeling files. Both agencies suggested
                  EPA described an example of a highway expansion project that may be found not to be a                                       revisions to the modeling, as noted in the revised Air Quality Technical Report. These revisions
                 “project of air quality concern”:                                                                                            have been incorporated in the Final EIS modeling which is documented in Attachment J Air Quality
                          Projects that do not meet the criteria under Sec. 93.123(b)(1), such
                                                                                                                                              Technical Report to the Final EIS. The conformity determination is being made for the Final EIS,
                          as any new or expanded highway project that primarily services                                                      and a final conformity determination will be made in the ROD. See Section 5.1.2 of Attachment J to
                          gasoline vehicle traffic (i.e., does not involve a significant number                                               the Final EIS, Air Quality Technical Report, and Section 5.10.6 of the Final EIS for the conformity
                          or increase in the number of diesel vehicles).
                                                                                                                                              determination.
                 71 F.R. 12,491 (March 10, 2006). A project with a significant number of diesel vehicles,
                 regardless of whether the project causes that number to increase, is a project of air quality                                For information on how to obtain the input and output files for published documents, please use the
      E1
                 concern.                                                                                                                     project email: contactus@i-70east.com
                 An example of a project considered to have a significant number of diesel vehicles is a “highway      754   21 and 22
                 or expressway that serves a significant volume of diesel truck traffic, such                                            G1   As previously discussed in responses to Comments A, K and S, EPA has set NAAQS thresholds
                 as facilities with greater than 125,000 annual average daily traffic (AADT)                                                  for pollutants including PM2.5, PM10 and NO2 (as reflected in the Supplemental Draft EIS and
                 and 8% or more of such AADT is diesel truck traffic.” Id. Such a project has 10,000
                                                                                                                                              Final EIS) that represent the levels necessary for public health. By showing that the project is in
                 diesel vehicle trips per day. The AADT data posted by CDOT for current traffic on I-70, see p. 6
                 above, shows that I-70 currently carries over 13,000 trucks per day. The proposed Project is                                 compliance with the NAAQS and no violations are predicted, the EIS provides critical information
                 expected to carry at least 30% more traffic., or approximately 16,000 trucks per day. The total                              for the decision makers. Construction impacts are not required to be assessed if construction will not
                 number of trucks is significant, and the Project is a “project of air quality concern” that must be                          last more than 5 years in any individual site (40 CFR 93.123(c)(5)), and there is no evidence that
                 analyzed for conformity.                                                                                                     there will be any exceedances of the NAAQS during the construction period based on the air quality
                                                                                                                                              analysis for the Final EIS. Monitoring supported data available nationwide and specific to Colorado
                       2. Conformity Determination Must be Included in SDEIS for Public Review and                                            highway construction confirms that BMPs for dust control and suppression deployed by CDOT and
                 Comment.
                                                                                                                                              other DOTs have been successful in goal of keeping temporary construction dust from contributing to
                 The Conformity Determination required by the CAA must be included in, and addressed by the                                   an exceedance or violation of the public health PM10 NAAQS.
                 review of the Project under NEPA. “EIS shall state how alternatives considered in it and
                 decisions based on it will or will not achieve the requirements of … other environmental laws                                Many mitigation measures have been identified in the Final EIS to offset the impacts of the project.
                 and policies.” 40 CFR 1502.2(d). See 40 CFR §§ 1501.6, 1502.25.                                                              For information on project mitigation measures, please see IMP1 of the Frequently Received
                                                                                                                                              Comments and Responses on the Supplemental Draft EIS, located in Part 1 of Attachment Q.
      F1         The information developed to determine that one of the build alternatives (basic managed lane
                 alternative) will not contribute to violations of the NAAQS has not been disclosed. In other
                 project reviews, FHWA has made available information such as the inputs to MOVES to                                          The concerns regarding dust during construction have been adequately addressed in the Final EIS.
                 estimate emissions, and inputs to the dispersion model, and outputs from dispersion modeling to                              For information on mitigating fugitive dust during construction, please see IMP7 of the Frequently
                 show receptor locations used for modeling, and the concentrations predicted at receptor                                      Received Comments and Responses on the Supplemental Draft EIS, located in Part 1 of Attachment
                 locations. These kinds of information have not been provided in this SDEIS, or AQ Technical                                  Q.
                 Report. Commenters request pursuant to NEPA and the Freedom of Information Act that all
                 input and output files prepared for, or used in, the modeling analyses be made available for
                 review by the public.

                 IV. Assessment of Alternatives and Mitigation to Avoid Adverse Health Impacts and
                        NAAQS Violations is Absent.

                 The SDEIS is fundamentally flawed under NEPA and FAHA because it omits any assessment of
      G1         alternatives and mitigation measures that can 1) reduce the adverse health impacts likely to result
                 from exposure to increased air pollution, and 2) reduce emissions to the levels needed to prevent
                 NAAQS violations.



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                The SDEIS is also deficient for its failure to mitigate emissions from heavy duty diesel                  754   22 and 23
      G1        equipment used during construction.
                                                                                                                                            H1   The Final EIS discloses project-related impacts for all alternatives and considers mitigation measures
                                                                                                                                                 where there are project impacts. NEPA does not require FHWA to consider or implement alternatives
                         A. Alternatives to Reduce Pollutant Exposures in the I-70 Corridor.                                                     that are not feasible and prudent, such as removing I-70 from this corridor or rerouting traffic to the
                At a minimum, two alternatives should be considered to reduce emissions and pollutant                                            I-76/I-270 corridor. Similarly, moving trucks to other alignments isn’t a feasible mitigation measure
                exposures in the neighborhoods adjacent to I-70:                                                                                 because no routes can be identified that would not affect other neighborhoods, and limiting trucks
                         1) re-signing I-70 to route the 40% of traffic that is "through" traffic out of the                                     could impact many commercial uses in this segment of the I-70 corridor that rely on trucking. The
                neighborhoods where dense urban development and elementary schools are located within a few
                                                                                                                                                 purpose of the EPA and CDPHE NAAQS and MSAT programs are to allow all areas to meet health
                hundred meters of I-70 onto I-76 and I-270; and
                         2) routing all truck traffic off of the current alignment between Washington Street and                                 standards and reduce overall risk. For information on alternatives that remove I-70 East from its
                Colorado Blvd which would require through truck traffic to use I-76 and I-270, and local truck                                   current alignment, please see ALT2 and ALT3 of the Frequently Received Comments and Responses
                traffic to disperse on local streets leading to their local destination rather than concentrating on                             on the Supplemental Draft EIS, located in Part 1 of Attachment Q.
                the current alignment next to schools and houses along the highway.
                                                                                                                                                 For information on restricting truck traffic along I-70, please see TRANS8 of the Frequently Received
                These alternatives are reasonable because they will add mobility for traffic traveling through the
                                                                                                                                                 Comments and Responses on the Supplemental Draft EIS, located in Part 1 of Attachment Q.
                metro area, without significantly increasing the cost of mobility, while at the same time
                providing health benefits for communities along the current I-70 alignment. These alternatives
                have not been evaluated in prior NEPA documents.

                Consideration of these alternatives should include traffic modeling and air quality modeling to
                answer the following questions for decisionmakers and the public:

                         a) how much reduction in traffic emissions within the I-70 Project study area could be
                achieved by diverting truck traffic away from the segment of I-70 where NAAQS violations are
                expected by requiring that trucks use I-76 and I-270?
      H1
                         b) would the reductions in PM emissions achieved by a truck diversion rule be sufficient
                to ensure attainment of every applicable NAAQS for mobile source-related pollutants (PM-10,
                PM2.5, NO2 and CO)?
                         c) would the diversion of trucks from I-70 and onto I-76/I-270 increase emissions enough
                in those corridors to cause NAAQS violations?
                         (d) if the diversion of truck traffic would not be sufficient to ensure that attainment of any
                NAAQS will not be maintained in the Project study area, would the diversion of through traffic
                from the current I-70 alignment onto I-76 and I-270 be sufficient to ensure attainment during the
                life of the Project?
                         (e) how much of the traffic expected to use the current I-70 alignment in 2035 would be
                through traffic (i.e., not expected to exit or enter between the Mousetrap and Colorado Blvd)?
                         (f) if through traffic were diverted onto I-76 and I-270, would emissions from those
                highways cause any NAAQS to be violated along those alignments?
                         (g) if any NAAQS violations are predicted at receptor locations along those highways,
                are any of those receptors in a location which EPA defines as “ambient air,” 40 CFR § 50.1, i.e. a
                location outside the right-of-way owned by CDOT where the general public has access?

                Without answers to these questions, informed decisions about these alternatives cannot be made.

                CDOT Director Hunt has stated during public meetings that CDOT cannot limit truck or car
                access to segments of the interstate system, and that therefore the alternatives proposed here for



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I-70 East Final EIS                                                                                                                                                                Supplemental Draft EIS Comments and Responses
                                                           Comments                                                                                            Responses to Comments
 Source:   Submittal                    Document Number:    754        Name:   Sierra Club - Robert Yuhnke


                 evaluation are not permissible. This is an incorrect understanding of the law. CDOT may not          754   23
                                                                                                                                 I1   Moving residents out of the I-70 corridor is not necessary because mitigation is not needed since there
                 have authority to limit vehicle access under statutes that it has authority to implement, but the                    will be no air quality impacts as a result of the project and no violation of the NAAQS is predicted.
                 State clearly has authority under the CAA to limit vehicle access if necessary to attain or
                 maintain a NAAQS for mobile source-related pollutants. For example, the State may adopt
                                                                                                                                      This would be an expensive measure that would impair neighborhoods rather than improving them
                 measures pursuant to an indirect source review program to prevent a highway from attracting                          by displacing more people than the bare minimum necessary to safely meet the purpose and need.
                 mobile sources, the emissions from which will cause or contribute to violations of a mobile                          Further, because no relocation areas in the Denver metropolitan area have zero air pollutants (from
                 source-related NAAQS. 42 U.S.C. § 7410(a)(5). When necessary to attain a mobile source-                              vehicles or other sources), it is unclear how much risk would be reduced. Overall air quality and
                 related NAAQS in a nonattainment area, or maintain a NAAQS in an attainment area, the State                          health are improving and will continue to improve with reductions in motor vehicle emissions,
      H1         may also adopt directly into its SIP any of the transportation control measures authorized by                        the closure of coal units at the nearby Cherokee Station, cleanup of old industrial sites and similar
                 CAA section 108(f)(1), including “(vii) programs to limit or restrict vehicle use in downtown
                                                                                                                                      measures.
                 areas or other areas of emission concentration particularly during periods of peak use.”

                 An EIS shall include reasonable alternatives not within the jurisdiction of the agency proposing                     CDOT follows the Uniform Act for relocating businesses and residents impacted by the project. For
                 the action. 40 CFR 1502.14(c). Thus the traffic diversion strategies described above should be                       information on relocation of residences that will not be acquired by the project, please see PROP4 of
                 considered in the EIS because Congress has delegated authority to the State to adopt such                            the Frequently Received Comments and Responses on the Supplemental Draft EIS, located in Part 1
                 alternatives into its SIP as control measures.                                                                       of Attachment Q.
                        B. Alternatives to Allow Residents to Move from the Pollution Danger Zone.                    754   23
                                                                                                                                 J1   The Supplemental Draft EIS and Final EIS are fully compliant with the requirements of NEPA, the
                 For comparison of health benefits, improved air quality and costs under § 109(h), an alternative                     Clean Air Act, the Federal Aid Highway Act, and other provisions. FHWA will take into account all
                 that invests resources to allow residents to protect themselves from the pollution danger zone by                    public comment prior to making a final decision for the ROD.
                 moving away must also be evaluated. This alternative allows residents to reduce their exposure
                 to emissions from the highway to zero, and to avoid any adverse health impacts. This option is
                 the kind of mitigation contemplated by 40 CFR § 1508.20(e) by providing a substitute
      I1         environment for the residents adversely affected by exposure to pollution from the Project.

                 Together, the failure to investigate the impacts that Project emissions will have on air pollution
                 standards, on community health, and to consider options that could prevent adverse air quality
                 impacts and improve local health outcomes makes the SDEIS inadequate under NEPA. In
                 addition, the failure to consider and adopt mitigation puts Denver at risk of becoming
                 nonattainment under the CAA for PM2.5, and possibly for NO2 as well. There is no discussion
                 of the regulatory burdens that such an outcome will have on sources of PM2.5 in the region, on
                 regional transportation planning and transportation funding, and on the City.

                 CONCLUSION.

                 The SDEIS is not adequate to satisfy the requirements of NEPA, FAHA or the CAA for the
      J1         reasons discussed above. A ROD for the proposed I-70 Project may not be signed, or the project
                 funded or approved until a revised SDEIS is prepared that remedies the described deficiencies
                 and is made available for public review and comment.

                                                                        Respectfully submitted,

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